 

Case: 1:15-cr-

 

FD-302(R¢v.s.s~\o) - 1 of 2 -

 

FEDBRAL BUREAU OF lNVESTlGATlON

Dnteo|`enlry 04/1_6/2015

RICHARD BBRMAN owner and Presiaenr BE:RMAN s coMPANY, -
F eelepveee mmber=
was interviewed telephonically. After being advised of the

identity of the interviewing Agent and the purpose of the interview, BERMAN
provided the following information:

BERMAN confirmed that he had received and had an opportunity to
review invoices that had been forwarded by the interviewing Agent via
e-mail. BERMAN advised the invoices seemed to be for work or events that
did not actually occur. The invoice related to promotional events that were
listed as having been done for the benefit of the AME;RICAN BEVERAGE
INSTITUTE (hereinafter ABI) by third party vendors, GOLDBN LOGISTICS; AVA
MARKBTING & COMMUNICA'I‘ION; BEVERAGE`. ]NDUSTRY MARKETING SBRVICES; LONGHI
GOLE' OPERATIONS and BVENTS MARKETING NETWORK, LLC (hereinafter EMN) . The
invoices listing these events for ABI were submitted to and paid by MILLER
BREWING COMPANY (hereinafter MILLER) or MILLERCOORS. Copies of these
invoices are attached hereto and made part of this FD-302.

BERMAN & COMPANY is a public relations firm which manages a number of
not-for-profits to include the ABI. BBRMAN started ABI as a trade
association approximately twenty years ago. ABI has had a relationship with
MILLER as a member supporter for approximately fifteen years. As a member
supporter of ABI, MILLER pays dues to ABI.

At certain events, like a golf tournament, a member of ABI could
sponsor the event over and above dues the member pays. Although a member
could host a dinner or sponsor a golf tournament, those types of events are
legitimate ABI events. Conversely, the events listed on the invoices BBRMAN
reviewed do not seem to relate to any ABI events that actually occurred.

BERMAN advised that he was not familiar with a vendor named LONGHI
GOLF OPERATIONS. BERMAN advised there were no ABI golf tournaments in 2012
or 2013, in Jupiter or Palm Beach Gardens Florida; nor were there any ABI

 

lmm“w“mnm` 03/20/2015 al Chicago, lllinois, United States (Phone, Email)

Fi,c,, 31 sA-cc-4668147 Dmdmn¢d 03/31/2015

 

by SA Laura B. Miller

nor ' ' of the FB|, ll is thc property of the FB| and is loaned lo your agency; il and ns contenls are nol

GOVEF|NMENT
EXH|B|T

'l`his document \ ' neither
lo bc dismbulcd outside your agency.

  

Group Ex. 1(a)

FB|302_007-000009

 

Case: 1:15-cr-00260 Document #: -ZBS~ZFi+ed:~-O?-/ZG/-l%PageZ-~of 101 Page|D #:2024

FD-3OZa (Rcv. 05-08-10)

318A-CG~4668147
Cmmmmmndpn&nuflnterview of Rlchard Berman` ’on 03/20/2015 ivy 2 of 2

 

 

golf tournaments that were hosted in December.

BERMAN was then asked about a 5/4/2010 invoice from AVA MARKETING &
COMMUNICATIONS to MILLERCOORS, which listed a $67,490 charge and a
description of work as, “ABI Program for the Strategic Development of the
ABI 2010 Responsible Drinking Initiative.” BERMAN advised this invoice was
not legitimate nor did the other AVA invoices. BERMAN did not know the name
DREW VALLOZZI, nor was he familiar with AVA MARKETING & COMMUNICATION.

BERMAN is familiar with ROD GROETZINGER. BERMAN advised that he is
not surprised that GROETZINGER is involved in the conduct being
investigated as it relates to DAVID COLLETTI. BERMAN advised he has known
GROETZINGER for a number of years. BERMAN was asked about the BIMS and EMN
invoices that were forwarded by the interviewing Agent. BERMAN does not
believe that these events occurred. BERMAN does not remember GROETZINGER
being involved in any recent training or promotions on behalf of MILLER.

BERMAN is not familiar with the vendor GOLDEN LOGISTICS or GOLDEN
EVENTS & PROMOTIONS. BERMAN does not believe that GOLDEN LOGISTICS or
GOLDEN EVENTS & PROMOTIONS has done any work for ABI. BERMAN was asked
about an invoice from GOLDEN EVENTS & PROMOTIONS to MILLERCOORS for an ABI
Mid-Winter Meeting that listed a date of 2/11-12/2010. The invoice listed a
$10,000 sponsorship fee for an ABI Winter Meeting in Las Vegas. BERMAN does
not believe that this invoice was legitimate.

BERMAN advised that TERRY ROBBINS, the former Controller for ABI,
thoroughly reviewed ABI records for evidence of a number of ABI events that.
were listed on the invoices submitted to MILLERCOORS. ROBBINS checked ABI
records to determine if the ABI event listed actually occurred or occurred
on the dates that were listed on the invoices. BBRMAN had no question that
the information ROBBINS previously provided to MILLERCOORS internal
investigators about the dates and details of ABI events was accuraté.

FB\302_007-000010

9i0000-Loo“zoels=l

Q

Case: 1:15-cr-002,60 Document #: 258-2 Filed: 07/20/18 Page 3 of 101 Page|D #:2025

 

; ___ mv¢m'£
. _;\_ i.r_[ 2 §
base . . invoice # . Terms
05/13/0§- 3128 list 30
Bill To: _ 4
Miller Brawmg 'Co,mpeny
3838 W- Hishlil'e Place-
Milwauiee, Wl SSZGS~M

Cliens M'iler swwrgcompa Company

F_ro)e¢:l: An`leri¢al! Beve|‘age` ln`stitute Ttalnlug Pl,ogran

D_sscripldoh:' Development and research df`xyrt`cms and omni vacuum procedure packing techniques
'SetwicB Indl"r” twailstaff billerwleivs, all copy, pmductionand graphics

MMX|_NT DU SSG;ZW.

   
 

Pmse mn:§gaymn`toc
` » 4 Bunmote Cout, Sce. 200
=£@ZJD# mm nega.sc ama
rams mas-1091

lime lér___..Q;r!z._S_r~£I

lmrle Cnos
El`l$m D'mo auto C]
§@Q_‘

___
Nm-m |_l.h

(OO 235'7.`7(?7

a oumoom':oou¢v, lYl. 300 ~ m\.méu iam u`uum ~ denno emma you »' rival amle ~ rw\ 043442~?800 » j
~ _,_`._-_`__._.¢- \ )

MillerCoors/Col|etli_003147

 

 

 

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 4 of 101 Page|D #:2026

 

  
    

 

 

 

 

 

W
Di'i'wmarr#f k il lt ‘
Vg{op;\{ 10?_`1[1?¢ /ls:&
c`oMnu`lY door ,. g
' ' §S_w» gen ann mem mm
”M“B§¥;;‘L'§§$.S§%YZ&““ "” ' `ewe-ee' . G- ee\i:ééz.ij 35
WECEWED invoice
.lUN'-`.B"€;ZBUB.
,. ,.l _, Ggqu_ms lvnmber 54323
NN\@‘\"LA ma 5713/2'006
Qlwl'e: 574379
Bill fo: PLEA.$E REi-dii? !"A YMENT To:
-Mrlter B_nswr'ng Company Events l\iarke£'fng Nelivbrl< LLC
3939 W.` sigmund Blvd. 95 Ma~lt}i¢ivs Dri_ve Sl:e. Er, mill 133
Mllwqt_tkee, Wl 53201 Hliton _Heud, `.$'C 29926
Aeen: corp'orateAccounts middle maize- 34`3438414?570
wl ag Net"g- 65
PB 100531355 $53, 500.

'Accaunt: Amerlcan sewerage mslrtirte wish
$el'vfces Incl_ude: Tl'ad_e $lll'iw $'ponsarsirip~cpen_r‘r'i,'gf reteptlon lncludi`rfg cocktail party
and sponsorship fee

 

malone isaac

..J_ ‘., ,..:,
~ s
-°/A.* .‘4"»-\

'WE APPRECIATE YOUR BUSINES`S

   

coNFlDENTIAL lele'rccor'¢/collelu*;oo'azsi

FB|302_OO7-000028

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 5 of 101 Page|D #:2027

 

jj c'"/a;<>e;c

 

 

- .,?..:»z.,z /o /
MARKETl-NG NETWORK LLC ‘”=§ `
'?-'r-
95 Mathews Dtivc, Sle.' B7. Unil 133 N
Hi' .lon Hcad, SC 29926°1-
851
B`WO'!`CE
Nlmibor 634`86_
Daloc .9/21/2007
Quole: 6552545
Blll To: ' PLF.ASB RBMIT ?AYMUI’ 'I`O:
Mliler Bre\vlng Compar-y B_vmts Maskelln,g_ Nelwo:k L\’.C
3939'W. High!aud.l'ilvd. 95 Msttl_ie\vs dec`, Sl`e. 27, Ulill 133
Milw\ukce, Wl 5320'. Hillon Heed, S_C 29926
Atln: Cotpomia Kc¢o\mls Paya,‘ble Phone; 843¢38.4-7570
$46.830;

  

n . l
PO: 100623303
Ame_rlcan Bevcm _
S¢rvicca Ixiel\ide: banner and slgnag¢ development for display lil cash holli, product
andwmpling al each hole, display la hospitality tail farming Mll!_cypmduc`ls,

R`ecqplion sponsorship

  
 

' le (AB_!) sell Mcellng millelailcr- Golf'l`o_ninammt

   
 

'l;cfici;l)l\¢; 346,€30,.-

we Ai>x>izrcwrs i'.ovR rxii<si»\'l-:ss:v

 

 
 
  

VEl'€ll.l_ia #

coii'muiv cong ':- '

 

 

$0
m mn n gm w g
coNFlDEerAL Mm'erccb'r"s?§_,' oi`_ll""nn§§s§'*"""'em_‘ __ `_ g '
Z§rq

FB|302_OO7-000029

 

Case: 1:15-cr-00260 Document #:-ZSB-Z-FHed:~G¥/ZG/-IS-Page-S~e=F-LGI PagelD#:'ZO-ZS-~~--_

 

`MAEKevme Nz'r`wonx Lr.`c h

301 Qonhl Awlh`¢lo,' 810 244
33an Hud, _S¢ -28528
Phonb§ 5_.43384-7570

Fm 843342-7538

'_I_NVOICE

Numb"er; 72435
naop. zzvmooa
aunu; 8624523

 

-Bl|l To. PLEALSE REMIT PAYME`JT TO*
Hmlar _Br¢wlng Compuq_' wants 345rkc`:_4n1 Network, Ll.C'
3939 W. H|ghlln`d Blvd. 301 C¢Ii!l'l_l AV¢QL\Q,' S_l€¢ 144
leauk£e, __Wl 33201 HlLDf\ H¢ld, SC 29926"" `.
537,500.

  

Am
S\pp_ortfn'g $ponsor Ml`d-Wlnter meeting

ev_erage lnsdtut.¢ (AEI)

SeNl'culnclude'. welc¢mo recoption/bocktall p_an:y, full pnmlum ban

M|ller` LlcelMG blfoster's boules, 2 _senmrzl bartender _
Towc'nue= s`:_`v,$ob.

WE APPRECIATEYCUR BL_l$lN_ESSl

 

 

'coNFvoENTl/AL¢

'~ r-'-’-`-i-s_` _____-_` ' b

 
   
   
   
   
  
   
    
 

 

tzonan Coo's

4500 Elvvoo [Juoio C|acoo

sam ms a

 

UZMLD

Mi_ug_rcoors/Coilem_oo;_a§z

23?

FB|302_007-000030

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 7 of 101 Page|D #:2029

 

301 CenlralAvhn`“ue. Sle. 244
Hillvn Hee\fd. 80299_28
Phone: 043'384-7570

Fax: 843<!4_2~758_8

_Blll Tb:

7Mlll.e.' Brewlng Cornpanv '
3939 W. nghland Blvd
Mllwaukee. W153201

    

 

~JQH 2¢&'¢45‘5{!'

]NVOICE

Numbar: 73444
Da_le_: W11f2098
Quéle: 8625248

FL_EAS£ REM,lT PAYMENT TC'.
live`n't: lllar_ké_tlng Network. LLC
301 C"encral Avenue, $te. 244

l.l'll_lt on Head, SC 29926

 

Qszs§lLrlsm
P'o.10067745`9

Cj A_merlcan sewage insecure (Al_zli
` Sponsorshlp/_Event Caordlnatlon`

-:;st!s,ga'ogo§

 

S`ervlces include: banner & slgn_age developmem, producl & sampling featuring
Mitlel' pmd_lrcls,- receptl¢`>_n snonsorshlp

fatal oue‘: =5`46_-.'36_0.-

WE APPRECIATE' YOUR B.USINESS!

 
   

' Gowm co wl S`J r)
co memo Dm‘,y E_-"em mm

 

 

smu-nos m w unm_;;z23
<_.>'ONFI¢)'E'NT\AL Mlller¢oovs).coll¢lll_qo‘a‘s§&-

Y

FB|302_OO7-000031

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 8 of 101 Page|D #:2030

 

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 9 of 101 Page|D #:2031

l"D-302(Rcv.5-8-10) ' l Of 2 -

 

FEDERALBUREAUCWWNVE§"CAT"NV
Dalcol`enlly 04/16/201.'>

CARLOS CALDERON, Employment and Compensation Corporate Manager,
CANNERY RESORTS & CASINO tele hone number: e-mail address:

  
  

   

cANNERY cAsIN<> _

was interviewed telephonically. After
being advised of the identity of the interviewing Agent and the purpose of
the interview, CALDERON provided the following information:

CALDERON had previously been e-mailed from the interviewing Agent
copies or invoices that had been submitted to MlLLv;RcooRs by companies
PRIME PROMOTIONS, INC. and BEVERAGE INDUSTRY MARKETING SERVICBS (BIMS).
Listed on those invoices for location of the promotions were CANNERY
CASINOS, CANNERY RESORTS, and RAMPART CASINO. Copies of those invoices are
attached hereto and made`part of this FD~302.

CALDERON confirmed he had received the invoices and had an
opportunity to review them prior to the in:erview. CALDERON interviewed
employees of CANNBRY CASINO regarding the promotions and events that were
listed on the invoices. CALDERON spoke to the former Director of Food and
Beverage for CANNERY CASINO, ROBERT CRANE. CRANE became Food and Beverage
Director at CANNERY CASINO on August 31, 2009, and remained in that
position until December 5, 2012. CRANE had no recollection of the events
listed on the invoices as ever having occurred. CALDERON also spoke to the
current Director of Food and Beverage for CANNERY CA$INOS, STEVB URICCHIO.
URICCHIO became Food and Beverage Director when CRANE left the position in
2012. URICCHIO similarly had no recollection of any of the events listed on
the invoices ever having occurred; nor was he familiar with the vendors.
CALDERON advised that both CRANE and URICCHIO noted that the “pool parties"
listed on the invoices were odd as the Casino does not have a pool that
hosts these types of events.

CALDERON also spoke to the General Manager of CANNERY CASINO, PATRICK

 

,m.mis,,ion°,, 03/30/2015 m cnicaqo, lllinois, united Sraces lPhone, Emaill

 

 

rim 3181‘-'€@'466814'/ Dm.dmn,d 03/31/2015

 

by SA Laura B. Miller

 

This documenl conlains neither rccommendalions nor concluslons of lhc F[ll ll is the property of lllc l"lll and is loaned la your agcncy. ll and us come
lo bc dlslllbulcd outside your ng¢ncy.

   
       
 

GOVERNMENT
EX|'||B|T

Group Ex. 1(b)

 

FB|302_007-000032

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 10 of 101 Page|D #:2032

FD3023 (Rev. 05-08~10)

318A-CG-4668147

Commm“m“¢n}mzof€arlos Calderon, Cannery Resorts & Casino ,On 03/30/2015 2 of 2

,Mw

HUGHES. HUGHES also reviewed the invoices that had been forwarded to
CALDERON. HUGHES noted that until early 2013,\CANNERY CASINO was under'
contract with ANHEISER BUSCH to carry BUDWEISER products. As a result,
CANNERY CASINO would never have done a promotion with MILLERCOORS anytime
prior to early 2013. Accordingly, the PRIME PROMOTIONS invoices dated
8/17/2010 and 8/29/2011 could not have occurred. CALDERON advised CANNERY-
CASINO is now under contract with COORS; however, the casino has not had
any of the types of promotions that were listed on the invoices.

CALDERON also noted that the 8/29/2011 PRIME PROMOTIONS invoice
listed an event at RAMPART CASINO. CALDERON advised that RAMPART CASINO was
run by CANNERY RESORTS & CASINO until April 2012. CALDERON agreed to
contact the people who would be familiar with whether RAMPART hosted any
such event and provide that information to the interviewing Agent.

CALDERON noted that a number of the invoices listed CANNERY RESORTS &
CASINO as the location of the promotions and events. CALDERON advised that
this did not make sense as CANNERY RESORTS & CASINO is not a stand-alone
casino. Instead, it was the parent company to CANNERY CASINO and RAMPART
CASINO on the dates listed on the invoices.

CALDERON also reviewed the BIMS invoice that listed draft beer

training at CANNERY CASINO. CALDERON advised that there is no record of any
such draft beer training as is indicated on the invoice.`

FB|302_007-000033

Case: 1:15-cr-00260 Document #: 2-

 

'-:.' . 41-,§...__._,..__'_,___._.__.._._.._,_.

    

" .%/;~":" newman am mm
§ nner throw .,..,_.':`::.!t..¢,._.,,» °
` ‘ 4 , _ room 701-€6“(9'1

F¢\= 104“|4\62
dam “2- $Ml

l NVG|CE

Dale: September 4. 2012 lnvoice"-#‘. 0079_87
Po# 100968'563

Prepared 'For: M| LLERCOORS 'Na`tlonal -Accounts

Job Trtle: Casl`no Draught B`ee'r Training Program' `(Las Vega_s. `NV) `

Descn'ption: lnstructlonal tralnlng for want staff and service persons on the proper way to
handle. care and serve- -dr_aughl beer

Servloes Includ'ed: Defmfng‘ the correct handling ano:care procedures et lne:baek end _of
the draughl.be_e_r system §includijng, temperaturel tavern heed'imalnt,ena_nce; llne:'cleanlng»,
system balance and proper storage techniques Front of the bar wolf staff and bartender
training lncluded; waste reduction, proper beer pouring teohmques fauoet maintenance
glassware cleaning and educating the consumer on "Gr_eat _Draught Beer".

Tralnin`g lncluded the following locations Ca'nne`ry Cas`lnos, Rampart Resort & C`asinos
and Bill's Casino .

 

bowman »
Completlon Date:August29,2012 vernon t 9~ at 5 14 4 ¢4 l

Cal.i_mnl'r Coou

memo amc D?roo 4 l
lnvolce Tot<‘=\l:"$ZB.?SO.OOl ,-w-‘._egiz g l MLQR§%§ 5 k l

Please contact us if you have any.questlon_s or..n'ée‘d further information

 

coNFlnENTlAl. Millercoors/c'olrem_ool§o'eo @

Fl31302_007-000043

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 12 of 101 Page|D #:2034

 

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 13 of 101 Page|D #:2035

-1 of 2 - with °“?73§,31`§§§?29

Fl)~302 (R¢v. 5~8-|0| 352

  

FEDERAL BUREAU OF lN\'ESTlGATl()N

Dulco|'entry 06/02/2015

JENNIEER TARULIS, Chief Financial Officer, INTERNATIONAL FOOD SERVICB
MANUFACTURER'S ASSOCIATION (IFMA), telephone number: e~mail
address: _ was interviewed telephonically. TARULIS,
who was aware of the identity of the interviewing Agent and the purpose of
the interview, provided the following information:

Prior to the onset of the interview, the interviewing Agent e-mailed
to TARULIS copies of invoices that had been submitted to MILLER BREWING
COMPANY (hereinafter MILLER), by EVEINTS MARKETING NETWORK, LLC '(EMN), and
EVENTS SERVICES, INC. (ESI). The invoices listed exhibit sponsorship
services that had allegedly been provided during the Chain Operators
Exchange (COEX), an event put on by the IFMA. Copies of these invoices are
attached hereto~and made part of this FD-302.

TARULIS advised that after receiving the e-mail and invoices from the
interviewing Agent, TARULIS looked up in the IFMA records system the events
listed on the invoices. TARULIS advised there was no support or record of
this nature of sponsorship from MILLBR on the dates listed or related to
the events that were listed on the invoices. TARULIS advised she was not
working at the IFMA as of the dates listed on the invoices; however,
TARULIS reviewed IFMA's records system which keeps records back to 2002.
TARULIS advised there was no record of MILLER having sponsored the events
that were indicated on the invoices, however there were records of other
sponsors, such as COKE, having provided sponsorship as far back as 2002.

TARUbIS advised that in addition to the fact that the sponsorship
listed on the invoices was not supported by any IFMA records, the
additional descriptive information listed on the invoices also led TARULIS
to believe the invoices were not legitimate. TARULIS explained that the
invoices listed things such as booth rentals, booth set up and tear down,
furniture packages and other items that would never be used at a COEX
Event. TARULIS advised that booths and furniture are something you would

 

lnvcsngmion°n 05/28/2015 al Chicago, Illinois, United Statcs (Phone, Email)

 

ma 3131\-€6'4669147 unnamed 05/28/2015

 

by SA Laura B. Miller

 

 

Thls document cornelius ncil|\cr recommendations nor conclusions uf the FB|. ll is thc properly u{lhc FB| and is loaned to your agency; it and its conle
to be distributed outside your agency.

   
     
   

GOVERNMENT
EXH|BIT

Group Ex. 1(c)

 

F31302_009-000016

 

Case: 1:15-cr-00260 Document #: Z-BS-LEHed: 07/20/18 Page 14 of 101 Page|D #:2036

FD-302a (Rev. 05-08-10)
318A-co~4668147 "
ContinuationofFD_mzof Interview of Jennifer Tarulis, IE'MA ,On 05/28/2015 ,pagc 2 Of 2

see at the Restaurant Show,r but are not the nature of the COEX events.
TARULIS explained that COEX puts on educational events where there is an
education presentation followed by a reception for atte'ndees. Although they
will serve products at these receptions, there are no booths, and it is not
at all like a trade show where booths and furniture are used.

 

FB|302__009-000017

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 15 of 101 Page|D #:2037

 

 

 

      

mercantile nerwoalt L-Lc'~:

301 Cen¢ll`lAvonuv,$i¢. 244
H_l|b!__\ H_Ild 80 29§28
Fl‘l§n¢‘ 843384-7570

 

F¥ll¢: 84334_2-7688
H§IVOICE
Num_be!: 72432_
Datc: 22712008
`Cluoto: 8624833
__zllt‘ro¢ pl`.`uss' mornme
'Mltl'er B_r_evrlng Company Evé`ll!`$ Mal'll¢tlng Natwont, LLC
3939 W. nghland Blvd. ' 301 Collh'al A`v¢`nuo,; 513 244
'Mttwookoe_, wl 53201 anton t»l¢od, sc 29926
E£lintitm Y§§£ °
Po:"' memos z ','ozq;
;chun operators sxchong'¢ tco`F.)‘<)

'E_>_nlb_lt/sponsorshrp
S`ervf,`ce¢ lnclu'd_er standard to’ x 10' display booth wlupgr_a"d¢_d furniture package
2 temp hose/nosmsies, entermlnmenc ocr-sponsor

'fott`!l--_Due`: . _$48,6710‘.

WE;AFPREC¢ATE Youn austrt_jl_,§$$l

  

 

 
 

Vsll_oon'# L¢::Z / 95 },S~_Z

C¢MMN.\' ones
90 0_4500 m??ll° allow am

';86174 mm n umwM.®

 

coNFloserAL ' Mlnercoorsroollertt__oosajo`o?%

 

FB|302_009-000018

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: _07/20/18 Page 16 of 101 Page|D #:2038

    

MAHKET!NG NETWDBK Ll.`.6

ol'o.o never Hr h_way,- sc». 102 5
M_oomvll[s, 2811 §
onm`»: manson

 

Fa)c 848442-7888`
INVOfCE
Numl§'or: '73529 ’
_\?ih: 213/2009
Quolo: 6832856
Bl__ll To'. PLEASE RE'.MI_T _PAYMENT TO: _ '
M|ller€oors EventsMu'kptlog _N¢Mo`rk,LLC
Corpoml»e` Héadquarten 516- 0 Rlvoi' ngh`we"y, S_to_. 182
3838 West ngh Llfe Ploce Mo_o_rhsville, NC -28117
Ml_lwnul_<oo, wl 53281
PO_: ‘100723991 $48,6_20.'

Chain 9porotor: E)cchqm¢ (CGS_O

Exhlb_il: and Event Spons'o'r`sh_lp

Servlm lnclud¢: Spo_ns_o_r_;lilp support, booth space rentol`, standard 10_' _x 10‘,_¢11_proy booth wlth
dp`gm_o‘ed lurnlture packa"g e, medng, audio rentol, sewp and teardown (All electric and power
needs `lncluded in me booth space rental)_.

`£b!B NV_I’I 833

~ro'ml~nu‘e: " $48.5;0.'

we APPk'eclATe alone eusll~l£ssl

 
 

Vell'bon'# lr'>?l: 2 § /~6~7

|-`l 6'o`MrAléY 0501 ' '
kg§owo [Jasoo Bmo Eicooo ;l:[omc'§

_c__ sam om_ C] __ wm Blllll-ll

 

 

 

coN"FlpeNTlAL.

 

 

lFla,l302_009-000019

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 17 of 101 Page|D #:2039

 

 

 

 

 

 

 

33 'oFFlcE PA`RK le.,`A'-'l°o6 HlL.TQN Ht.j'.A_b_,- 8c 29`92,0z "
w ;
_ PLEASE_ BEM!T- TO; '§‘: 2
' P.o sex ma " 799 i
'Q"BQ Gmnvlllo. 80 zones 55 ;
1400 -231 2701 . 1
-INVOIGE
member _8'25'51 ,
Dat¢:~ 2528/1006-
Qu`o'fe: ' 61385
801 Ib: PLFJSE RMFAYMENz-'To." 1
Miller Brewil`lg tampan?- £$I/Ruve
393_9 W. Hth_lend Blvd~. c/o Aac,_¢_)m Flnandm, nrc
Mlz;vaukee. :.wI 53201 v .sree:wlue,= sc 29606 "
At'fn: Corp¢`!rate Acwurr£qu)/ub!e
.PO.° 100511332 $¢7,'6`00.
mem 0pe`1'abo?s E¢ctzqnye (6060 "
Serlce fadude: boourse&uv/teardown, development a11d design of
4 me sell sheet awr_!o tente1 sewers (3 umw + opening deyreceptfon
_ ga n 'r-‘"“"¢‘,(‘W¢":" 543500-

1114NK YM FOR 1/011R BUSINE$S
_1a'rms Nei 30 days

1011 10101a ii minn 13. ama wm
mbh 10 hazard Hilnew," ine.

F.~D» Box GM Uh!hvllh. 3`_0 285118.
mem dojmq.e\;q. omit 110 repaid 7
bland mindth l\\`c- $"8_00~`231.'2757
-11111000!`1&\1 u_p_on Mdn`tef 1011 hwlce`.
AWE}IrlaN`;-` 1100-1 011 HI.E

    

come/lux mm `

Ewi anew new

 

 

L””Mm g mum\¢z@§b
GONF|DENT|AL_ M1||erCoors/C011011|__.00285.1 m

 

FBI302_009-000020

Lzoooo-soo'zo€la=l

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 P'age 18 of 101 Page|D #:2040

"",'~'=1`-,`::‘" .~ »~
._¢ '.
il.<.£~.~ . .".- 'D

 

1-'.~" ~
3‘:»-2 ."f ‘-. §§

L‘Cf'u“$ °¢-`{,13 mg

 

 

 

INVOI£E
. same cooé '!;gi~e:' '
@$k~nm mm mm 13___ .. ' wm
sum 4 ' wl .é!.{=’.'ab_~ §
sat 'rq mud mg cum ' PLE_A$E_W- umw
~mmmwr:azox saorrza_zl’quaaad._n.los
Hilfon Head,$¢ 29926
k l { ID #‘. XX-XXXXXXX)
M'tn: M's. bkrme kodanm
`Mo N¢r¢w
‘Fd`r serum in 'ao‘n'n`ed*¥on w¥fh +he' mB<(C$'_iaij Oqupt§rs Exdmge) _S$\ow $`47;317.
Feb`.. 22.1hmEeb" 3 21112
Ini:hdes=
$ell died hmdou'|£
-. Tde_n?fc_s (MBCo;. servers}
'- Racq:rlonspu¢sorstipa\d mum(fooda\d mesa-visa
'Tg?o'l: $47317.

/O@? Q")`OOQ.O

 

' 5 ox>y

-331¢¢§@~¢¢¢1<.% A-)r`>_<>\v - mwn'ea.d. s`czms

connpemm.

§Mmercoprs!cone_ni_`ooz??e

 

QUU

ZZOOOO“GOO_ZO€|E;I

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 19 of 101 Page|D #:2041

  

 

 

y REcEr./;D._
M _;,, _ man mayo-z
44~¢|¢~`¢» " "' l j mg
nmu- 1-¢»¢ hamm ama ' ` mol_cE
M=`ZNJ@
sum ma PLE*::$E"R'E""*" ""‘E"' '
%,“',Z%m §§ m05%\50u\ m
l _ mae
1 Had.so
m:~w.mmcdeui
assuming m
hmwmeoex 1 ‘

 

 

 

wee-ncua m.m¢aumvs-nm_a=u mcmann harsh

;c,_'c;>l\l_r»f'n:ENT`,u__\lé1 Miaercoorslcoueai'_¥ooz'rn

 

?/;<

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 20 of 101 Page|D #:2042

 

 

     

\

Omouu. Ric.ono §

v»v., 1

FD.Joz(R¢v.s.s-lo) - l of 1 -

FEDERAL BUREAU OF INVESTlGATl()N g `°"" °`“""""“""~"‘J
Dntcofentry 06/15/2015

On May 28, 2015, Special Agent (SA) LAURA B. MILLER received an
e-mail correspondence from JENNIFER TARULIS, IFMA, telephone number:
e~mail address:

In the text of the e-mail, TARULIS confirmed that she had received
and reviewed invoices that had been forwarded by the interviewing Agent.
TARULIS stated, “The descriptive information of display booth and tradeshow
materials are not related to the nature of events or conferences IFMA
organizes - currently or in the past. Although these invoices are very old,
if we had Sponsorship receipts or commitments from a member the support
would be documented in our member management system. The system was
searched no support was noted for MILLBRCOORS. However other longstanding
engaged members displayed support going back to 2002. Attached are screen
shots of both the list of company contacts and dues receipts for
MILLERCOORS. As you will note the company was a “dues paying” member from
1998-2013.”

Attached to the e-mail from TARULIS was a screen shot from IFMA’s
Customer List referencing MILLERCOORS. Copies of the aforementioned e-mail
correspondence and screen shot are attached hereto and made part of this
FD-302.

 

mwmwmwnm] 05/28/2015 at Chicago, Illinois, United States (Email)

 

mg 318A-cG-4668147 Da`¢dmn°d 06/12/2015
by SA Laura B. Miller

 

 

This document contains neither recommendations nor conclusions ofthe FBl. lt is lhc property of the l~`Bl and is loaned to you ngenc`y; it and its cnntcnts arc not
to be distributed outside your ngel\cy. `

FB|302_010~000001

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 21 of 101 Page|D #:2043

Mil|er, Laura B. (CG) (FB|)

From: Jennifer Tarulisw
Sent: Thursday. May 28, ;

To: Miller, Laura B. (CG) (FB|)
Subject: RE; Request for lnformation
Attachments: MillerCoors iMIS Histroy.docx
Laura -

The invoices have been reviewed.

The descriptive information of display booth and tradeshow materials are not related to the nature of events or
conferences lFMA organizes - currently or in the past.

A|though these invoices are very old, if we had sponsorship receipts or commitments from a member the support would
be documented in our member management system. The system was searched no support was noted from MlllerCoors.
However other long standing engaged members display support going back to 2002.

Attached are screen shots of both the list of company contacts and dues receipts for MillerCoors. As you will note the
Company was a ”dues paying" member from 1998 - 2013.

l will also call to review this information

Best -J

Jennifer Tarulis
h

mm Miller, Laura e. (cG) tran _

Sent: Thursday, May 28, 2015 9:26 AM
To: Jennifer Tarulis
Subiect: RE: Request for lnformation

Hl Jennifer,
Sorry to bother you with yet another request to review invoices llstlng services which were claimed to be provided at
COEX events, but | have some additional invoices that l was hoping you could review. t have attached them to this e-

mai|. l know they may pre-date your employment with lFMA, but l was hoping you could review records or talk others
at lFMA to determine if the events listed on the invoices took place and/or if the entities listed provided any services

Please give me a call at the number below once you have had an opportunity to review the invoices.
Thanl<s so much,

Laura B. Mlller
5 ecialA ent

    

From: Mlller, Laura o. (cG) (FBI)
Sent: Wednesday, March 18, 2015 3;06 PM

FB|302_010~000002

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 22 of 101 Page|D #:2044

To:
Subject: Request for Information

lennifer,

As we discussed on the phone earlier today, the Federal Bureau of investigation (FBl) Chicago Division is requesting your
assistance with an ongoing criminal investigation To that end, l have attached an invoices that were submitted to
MiiierCoors related to promotions, events and training that allegedly were held for the benefit or at the request of the
international Food Manufacturers Association (lFMA) and the for the COEX event. Once you have had a chance to
review the invoices, could you please give me a call.

Thani<s,

Laura B. Miiier
S eciaiA ent

    

FBl302___010~000003

 

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 23 of 101 Page|D #:2045

 

 

lwl@l

z ...a. H_ lwe

 

 

 

 

 

¢»=»¢;! .e .e>¥¢ 3282 u.x.z viz ma

 

 

 

 

 

__az_c.…i.£, 119£§£§ :.s..§~

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

F31302_010-000004

sooooo-oio"zo€ia=i

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 24 of 101 Page|D #:2046

 
   
        
     

 

;Tl.")\i U‘af 151'&'.

i'."i--i =.- 11- -\»'-'-. ‘ -' -t'u
` Menage customers Dropped Membership - MiilerCoors
low l°"°°"'*"*"* .:l l**'* .'.| l°°*°°' .:l

 

 

 

!AIlB‘y
keis'l!d("ld ¢~"B 99»
lime '

id

Fll

 

.W: j§`j`i§§]j§~;]'§§"i§?m,"M.I_'_'_<=¥-v-v§,':"es»v-." `.f.',“._.`l_'~\=-~`._,._.§fi<`>ii-l.=iew _, _" l " `*éiiw¢~r¢<'-, l=-§~°ylw-ww-

v i.._

     

    

      

 

 

 

 

.`. m]oe¢e]m]mlhluamu¢{l_hm
" ==~ rum ”"__. ,J_ . t,:'._:.,:'.' c_,j__,_. m , ___.W._,_.s

 

 

" "i';!§ fe 7 ) '-i .»:`@l@

 

 

     

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 25 of 101 Page|D #:2047

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 26 of 101 Page|D #:2048

   
 

Omou\i. lincoln §

4 k`v~s¢rh'.mhs~md,cr+r
' 51 rr '

FD-Joz(R¢v.s-s.io) ~ 1 of 2 ~

  

FEDERAL BUREAU OF INVESTlGATlON

Dateoi"entry 06/15/2015

MONIQUE M. LEVY, formerly known as MONIQUE MONACO, Group Show
Director, Restaurant Group and Special Events, PENTON, telephone number:
a-aaal umwaaaa_ aaaaavaaaaa
telephonically. After being advised of the identity of the interviewing
Agent and the purpose of the interview, LEV¥ provided the following
information:

LEVY advised that she has been responsible for planning the
Multi-Unit Food Service Operators (MUFSO) yearly event, which she described
as an annual conference, for the past eighteen years. LEVY is currently
employed by PENTON, a company that purchased NATIONS RESTAURANT NEWS in
2010. As part of the purchase by PENTON, the MUFSO event, which was
operated by NATIONS RESTAURANT NEWS, was taken over by PENTON. LEVY planned
the MUFSO yearly event both for NATIONS RESTAURANT NEWS and for PENTON.
LEVY advised that the yearly MUFSO event usually occurs in September or
early October.

Prior to the onset of the interview, Special Agent (SA) MILLER
forwarded to JULIE SMITH, Vice President, Assistant General Counsel and
Lead Privacy Counsel of PENTON, copies of invoices that had been submitted
to MILLERCOORS by EVENTS MARKETING NETWORK, LLC and LONGHI GOLF OPERATIONS,
INC. The invoices listed services provided in relation to MUFSO. LEVY
confirmed that she had received the invoices from SMITH and had an
opportunity to review those invoices prior to the onset of the interview.
Copies of both the invoices forwarded to SMITH and the e-mail
correspondence SMITH sent to SA MILLER are attached hereto and made part of
this FD-302.

LEVY advised that MUFSO events were never held in any of the
locations or on the dates listed on the EVENTS MARKETING NETWORK, LLC or
LONGHI GOLF OPERATIONS, INC. invoices. LEVY advised that the invoices were
completely fake and listed services that were never provided. LEVY advised

 

mwgwmm“m 06/09/2015 or Chicago, Illinois, United States (Phone, Email)

 

F"c“ 318A-CG-4668147 D,¢¢dmn°d 06/12/2015

 

by SA Laura B. Miller

 

This document contains neither recommendations nor conclusions ofthe l~`Bl. lt is the property oi'lhe FB| and is loaned to your ngcncy; it and its contents arc not

to bc distributed outside your ngency.
GOVERNMENT
EXH|B|T

  

Group Ex. 1(d)

FB|302_010-000006

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 27 of 101 Page|D #:2049

FD-302a (Rcv. 05-08-}0)

318A-CG-4668147
Cmmwmwnm¢DJQofInterview of Monique Levy, Penton ,On 06/09/2015 JMW 2 of 2

 

 

the MUFSO yearly event was almost always held in Dallas or Los Angeles. One
year MUFSO was held in Chicago, Illinois and a few times it was held in
Orlando, Florida. The MUFSO yearly event was never held in Jupiter,
Florida, or Palm Beach Gardens, Florida. LEVY advised there had been no
golf outings held in conjunction to the MUFSO event since 2004 or 2005. The
golf events prior to that time were always held on the Sunday before the
conference and were held in the city where the conference was being held,
not Jupiter or Palm Beach Gardens,

LEVY advised that prior to 2004 or 2005 when they held a golf
tournament affiliated with MUFSO, LEVY would handle all logistics related
to the tournament. LEVY explained that this meant that MUFSO contracted
with the venue and MUFSO owned and ran the golf event. LEVY advised that
someone might sponsor a hole at the golf event, but none of the green or
cart fees or other charges listed on the LONGHI GOLF OPERATIONS, INC.
invoices were legitimate. Additionally, MILLER and MILLERCOORS never
sponsored a hole at the golf events.

LEVY advised that in the eighteen years that LEVY has been
responsible for planning the MUFSO annual conference, neither MILLER nor
MILLERCOORS has never sponsored anything for MUFSO.

LEVY advised that the EVENTS MARKETING NETWORK, LLC invoices invoices
were similarly not valid. As in the initial matter, the timing listed on
the invoices did not relate to any MUFSO event. Additionally, the types of
services listed were not legitimate. For example, the “exhibit lounge
set-up/teardown” and “Booth set~up & teardown” listed under “Description”
on the EVENTS MARKETING NETWORK, LLC invoices were not services provided at
the MUFSO annual conference. LEVY explained that MUFSO would get any
furniture needed for an event through the vendors they regularly used, GEF
or FREEMAN. LEVY advised that the description of services provided by
EVENTS MARKETING NETWORK, LLC were not legitimate.

LEVY explained that MUFSO never worked with either EVENTS MARKETING
NETWORK, LLC Or LONGHI GOLE` OP,ERATIONS, INC. as VendOr_S for MUFSO, nor did
they work with MILLER or MILLERCOORS on any of the MUFSO events.

FB|302_O'| 0-000007

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 28 of 101 Page|D #:2050

 

 

 

_:*
' ¢
EVEN l S §
MAR E |N N TWORK LLC §
95 Mathuws Drive. Ste. B?. Unlt133 59
tilton Hud. SC 29926 §
INVMCE
Number 544627
outer 7/21/2006
allow 575421
BI!! Zb: PLFA$E R£'MHPAVMT¢):
Miller Bre|van Coml!allv £Vent$ thcetfng Netwo)'lc LLC
393.9 W. fwth Btvd. 95 Ma'tt!tm vrlve, Sb€. E?, Unlt 133
Mlbmukca, WI$$ZUI flan H¢ad, St.‘ 29$26
A&n.' Col'!ombe Aamunt£ Pa.Wb/e Phone.’ 843-384-757'0
emma ~ -
P0 100540748 6,5'0£1

' »raaaservtce operators munoz mma;ear conrmnce
Sendce: mclude: Reaeptlon sponsorship and exemdou, produce altman sampling and

m

Dhll Dlle.’ 345,500.

WEAPPRECIATE YOUR BILS`INESS

ga//q/o(p

iauems:oi "”

gmi C¢ua,rR

WM.LQ.QJ_Q_QMLQM
ma ./;<. /.‘?. /.5: 71

Commuv cone
/Mo macon Dmo assoc C]aurw
sam - 2001 a um law

coNFloeNn/\L Mmercoors/couem_oo ac>?,%

 

`\

 

FB|302_010-000008

Case: 1:15-cr-00260 Document #:

258-2 Filed: 07/20/18 Page 29 Of 101 Page|D #22051

 

 

 

MARKET|NG NETWORK LLC

801 Csn\ril Avenue, Ste. 244
Hiton H`old. 86 29828
phono: 84$~384-7570

FlX: 843-842-75$8

Bill To;

butler Brewing Company
3939 w. urgth Btvd.
Miimlukee, Wl 53201

MARC “;mna

INVOICE

Numher, 72436
Daie: 2128/2008
Quote: 8624840

PLEASE REMIT PAYMENT TO:
arena Markettng Network, LLC
301 Cenu'alA~/enue, Ste. 244

Hilwn Haad, SC 29926

 

madden
po: 10055470¢

Multi-Unit Fondservico Operators (MUFSO)
Presenting Sponsor

vegas
$45,800.

Servir:es include: Exh|hit lounge are set-uplt:eardown - furniture renta\ includes
Portable bar/fiorellcarpet:. 1 host server. ice only (beer supplied)

Total Due: $45,800.

WE PPREC|ATE YOUR BUSINESS|

@La»@'li

IM'I| -m

CONF|DENTIAL

'MM;,L@QMM
caz._£c€_mfi-

\'Rlnnn{

Com-ANY Oooe

amc 137100 am am
Cl

Ull! l

 

MillerCoorsICol|eti|_003393

?>¢t/

FB|302_O10-000009

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 30 of 101 Page|D #:2052

 

 

 

§ viz
RKET|NG NE WORK L c §
95 Mn¢h¢m Dn‘ve, su. 21. Unn 133 33
fulton Head, SC29926 §
OC]~
1 0 2
00) INVOICE
Number 63483
Dno: 930/2001
owe tamm
Bi\l To: PLBASEREMTPAYMBNT 'DO;
Mchr Brewh£:‘om my Evonts wehling Netwock!.!.€
3939 W. nigh vad. 95 Matth‘elwc Dclve, S|a. E'),’Ig!&n& 133
Mtlmukee.\\f! 33201 iltoand, 8C29
l'honc 843484-7570

A\m: Corprmte Aecouots Payoble

 

hamm diem
PO: 1®62‘$303 343.0°0.
Multl-Uoit Foods:.rvice Oper'awrx (M'UFSO) Coa£'ermee

Su'vicu lnr:ludsc Boot.h s¢b_u & fcaxdown, audio cellular bood\, talent fec (4 dlys).

Sellslieet development-0 dan ns handout

Total Due: 348,0(|0.

WE APPRECIA'I'E YOUR BUSINBSS!

 

 

CONFIDENT|AL MilierCoors/Colletii_OOSSBB Z:?)
\'Y\

FB|302_O10-OOOO1O

Case: 1:15-cr-00260 Document #:

vENTS

MABKET!NG NETWO K LLC
*_

516-b R|var Hhhwey, ata. in
Mooncvlla, NC 28117
Fhono: 843694-7670
Foc 643-342-7588

 

Bill To:

Mtltzrcoors

Corporate Headqtmrters
3838 West ngh L!fe Place
Mi|waukee, W| 53208

258-2 Filed: 07/20/18 Page 31 Of 101 Page|D #22053

INVOICE

Nw'¥ber: 73523
Dai€! 2l5I2009
Quob: 8632655

PLEASE _REM|T PAYMENI` TO:
Evens Marketing Network, LLC
516'0 Rlver Highway, Ste. 182

Mooresvi!le, NC 28117

 

wisdom
Fo: 100723991

Mult|-Un|t Foodscrvice Op¢rators {MUFSO)
Exhiblt Sponsor:hip

mm
$45,300.

SeMoes includes Booth rental, set-up/teardown, talent fee (eot. 3 deys) opening retention td indude
cocktail party (tnr.luded in sponsorship fee). Sel| sheet development and pdnttng for directional

attendee handout

`£b:smnm - a :

WE APPREC|ATE YOUR BUSlNESSl

bit/013 Coi(..€H"

Total Due: $45,800.

¢‘~=.-|‘,- :c.'.r‘". .--~- ~` .tl

;_a_ DocuMnni

renderier
mn .ca?. /.91};5”.7.

OD\"'AN¥ OOD‘

B§otoo U`tiioo Dmo Claaoo Cliooo
BMBO
sum-2010 Cl umw. _

 

  

CONF|DENT|AL M||lerCoors/Co|letti_OOS

F31302_010-00001 1

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 32 of 101 Page|D #:2054

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 33 of 101 Page|D #:2055

- 1 of 2 - z _OFFlolAL Fle:cono

 
 

l-'l)~302 (Rcv. 5-8.|0)
l-'EDERAL BUREAU OF INVESTICATION

l):tt¢ oi`cntr_\' 0 3 / 0 8 / 2 01 6

BRIAN MASILIO.\IIS, GLAZERS DISTRIBUTORS. _
_ was interviewed telephonically-

After being advised of the identity of the interviewing Agent and the
purpose of the interview, )'IASILIONIS provided the following information:

."l!-\Slhll)[`|l$ worked fOl` At’:’.l_itit§ti£'§ from 2004 110 2013. Whert MAS.LL'.LON.LS Started
at APPLBBEE'S in 2004 un:il 2005, he worked on APPhEBEE’S marketing
strategy. S:artinq in 2005, MASILIONIS started working with APPLEBEE'S
beverage business. When MASILIONIS left APFLEBEE'S in 2013, he was the
grenier Manager of Beverage and Late Night for )\PPL?.BEE'S.

Pr'ior to the onset of the interview, a number of invoices were forwarded Lo
MASILJONIS for his review. These invoices listed promotions by: AVA
ADVERTISING, INC. (hereinafter I‘\VA ADVERTISING); BSVE`.RAC-E INDUSTRY
.VIARKETING SERVICES (hereinafter BIMS); and RAVE MEDIA MP.RKETING SOLU’IION
(hereinafter RAVE).

MASIL]ONIS advised that if there was a national program at APPLE‘.BEE’S
inVOlVing MILL¢ER BREWING COMPP_NY Or MILLERCOORS, MASILICNIS WOUld have
known about it. MASILIONLS advised that for any national promotion that
dealt with APPLEEEE'S Corporate, the person running the promotion would
work with MASILICNIS. MASILIONIS advised that if a promction related to a
specific AP?LEBEE'S franchise, meaning not a national promotion, the
franchise would be identified On the invoice for the prcmotion.

MASIL]ONIS is not familiar with any of the promotions listed on the
invoices provided by the interviewing Agent. MASILLONlS has never heard the
name AVA ADVERTISING, and has no recollection of AVA ADVERTISING ever doing
any work for APPLEBEE'S. MASIIIONIS has never heard of DREW VALLOZZI and is
not familiar with VALLOZZI doing any work for APPLZBEE'S. MASILIONIS
recalls meeting DAVID CO;.LETTI once, but MASILIONIS' contact at MILLERCOORS
for marketing and promotions was STEVE; MUIJLBR. MASLL»I.ONJ.S feels like he has
heard the name ALLYSQN FISHER, but MASILIONIS could not recall specifically
dealing with FISHER.

MASTLTONTS was asked about an invoice dated March 12, 2007 from AVA
ADVERTISING for $45,070.00 listing a description of “Miller Applebee's

 

 

 
  
 

 

 

 

lmcm;nm"m 02/25/20]_6 m Chii~_aqo, ].'l lino~is, tlnit~.t=cl St'ati=as (Ph:>na'_-, F‘.mai l)

l.-i|¢,-, 318A-CG-4668147 . Dm"dmmd 03/¢')3/7

h\, SA Lau ra B . Mi l l er GovERNMENT
l`\\ix do.‘ul\v.'n\ t ` neither r... ' ‘im\s nor -'1\--»‘ ' oftlte |-`lll. ll is the property ol`thc l-`l)l and is lowell lo _votr ngcno)': il mtd its com EXH'BlT

to b.' distributed outside your agency Group EX. 1(6)

Case: 1:15-cr-00260 Document #:' 258-2 Filed: 07/20/18 Page 34 of 101 Page|D #:2056

PD-302a (Rev. 05-08-10)

318A-CG-4668l47

ommwmwndTDgozd\lnterview of Brian Masilionis ` ,On 02/25/2016 2 of 2

, Page

 

Trivia Booklet “Winning Combos.”” MASILIONIS did not specifically recall a
promotion related to trivia books. MASILIONIS advised that at the national
level, APPLEBEE’S uses a printer called Tre Bon. MASILIONIS advised that if
an entity like MILLERCOORS created a program or promotion, it is possible
they used their own printer.

MASILIONIS was then asked about an invoice dated October 24, 2006, from AVA
ADVERTISING to MILLERCOORS, in the amount of $31,600 listing “APPLEBEE’S
Holiday Programs.” MASILIONIS did not recall ever doing a holiday program
with a beer partner other than HEINEKEN. MASILIONIS explained that HEINEKEN
had a green and red bottle so a holiday program for HEINEKEN made sense.
MASILIONIS does not recall MILLER ever doing a holiday program for
APPLEBEE'S.

MASILIONIS has never heard Of BIMS, RAVE MEDIA Or ROD GROETZINGER.
MASILIONIS did not recall BIMS or RAVE doing any work for APPLEBEE'S.

MASILIONIS was directed to a $62,820 invoice dated June 30, 2005 from BIMS
to MILLER BREWING COMPANY listing a training program and‘sponsorship for
APPLEBEE’S. MASILIONIS had no knowledge of the services listed on this
invoice. MASILIONIS did not recall MILLER ever sponsoring a team building
event for APPLEBEE’S. MASILIONIS advised he would have been involved in
something like a team building event for APPLEBEE'S sponsored by MILLER,
and he does not recall such an event ever occurring.

MASILIONIS was directed to an invoice from RAVE MEDIA to MILLER BREWING in
the amount of $36}000, dated February 3, 2006, listing “APPLEBEE’S Training
Guide-National Accounts.” MASILIONIS advised he does not recall MILLER or
MILLERCOORS sponsoring a training guide for APPLEBEE’S. MASILIONIS did not
remember “anything like this.”

MASILIONIS advised that the two remaining RAVE MEDIA invoices dated
9/08/2000 and 5/14/2001, pre-dated his employment with APPLEBEE’S so he
could not speak to the legitimacy of the invoices.

Copies of the invoices forwarded to MASILIONIS prior to the onset of the
interview are attached hereto and made part of this FD-302.

FB|302_O14-000005

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 35 of 101 Page|D #:2057

___-t

 

_`
¢ r."

INVOICE

lnvoz'cc #: 8253
Date: 2/3/2006
Quo!e #:7'7152

Bill To: The Mjller Br¢wi:\g Company
3939 W. Highland Blvc`.
Milwaukee, WI 53201
Actn: Acco»:.n;s Payabie

RAVEMED¥A

marketing solutions
33 Office Purk Road.
A- 106
Hlllon Hcad SC 29928

343.342.7729 main
843.34?..7588 fmc

\'.'eb.\i(c
ravcmcdiamarkcdng.com

 

ll

 

€
PO #:100510197

Applebee’s Training Guidc - .\\’adonal Accouois
Research outline. wri:e copy, design graphics with 4/color photos, layout and
producrien.' lncludes all revisions and printing

 

Piease remit payment !o:
Rz.vc Mcdia

c/o Accord Financial, lnc.
PO Box 6704

Grcenville, SC 29606

TOTAL'. 536.000.

 

THANK YOU FOR YOUR BUSINESS!

h`\`r°l'\'::

Tbis invoice is adch to. emma by and

ombla to N:cord moth mc. ,MAR 0 2 me
F.O. Box 6704. Gre¢nvl||e. SC 29808,
Am' oilso!o. china ¢w. must be reported
10 Ac\:md Fr:m\c\'a|. |nc. 1-800-231-2757

lmmdlatu|y upon mclp! di \h‘s invoice.
ATTE.NT|ON: ` U$C-! 0?\' F!LE

 

 

Dwurms 3
VEN°C€¥ r ‘
/
=5,."’_' CO~wmv Cone
S;-< 04550 upon memo mm
d _m 0 -_ ilqu 4130
CONF|DENT|AL MillerCOors/Collei!i_OO?BéB

FB|302_O14-000009

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 36 of 101 Page|D #:2058

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 37 of 101 Page|D #:2059

roseman swim `1 °f 1’

 

FEDERAL BUREAU OF lNVESTlGATlON

l)nlcofcntr_\' 04/03/2017

On March 28, 2017, Special Agent (SA) LAURA B. MILLER received a reply e-
mail correspondence from BRIAN ESSER, Corporate Counsel/Senior Director of
Risk , RUBY TUESDAY, INC, telephone number: _e-mail address:

SA MILLER had previously forwarded to JAMES VITRANO Of RUBY TUESDAY for
his review an August 18, 2006 invoice from AVA ADVERTISING to MILLBR
BREWING COMPANY (hereinafter MILLER) in the amount of $50,000.00 listing a
description of "Miller-Ruby Tuesday Menu Support" and "Consultation for
Layout, Copy and Supervision." Also provided to VITI\ANO for his review
were two additional invoices listing marketing and promotional events for
RUBY TUESDAY. Specifically an $18,100 invoice dated 07/08/2004 from
BEVERAGE INDUSTRY MARKETING SERVICES to MILLER and a $40,000 inVOlCe dated
09/06/2006 from EVENTS MARKETING NETWORK, LLC to MILLER.

In the text of ESSER's March 28, 2017 reply e-mail ESSER stated, “after
investigating back in 2016 we found no legitimacy to the invoices.
Furthermore we could find no traces on the amounts being debited from our
accounts."

Copies of the aforementioned e-mail correspondence and invoices that ESSER
reviewed are attached hereto and made part of this FD-302.

 

lm.`,§`ismimmn 03/28 m Chicago, Illinois, United States (Bmail)

 

/zol/_
mg 318A-cG-4668147 bowman 04/03/20

   
    
   
 

 

SA Laura B. Miller

GOVERNMENT
EXH|B|T

Group Ex. 1(f)

l))

 

  

'll\is docmncnl contains neither recnmmcndn!inn~a nor conclusions ol`ll\e l"lll. ll is tire pr\vpen_\' ol`lhc l-`Bl and in loaned w your ugcncy; il nnd ilu come
lo he distrilmlcd nnlsirlc _\'nur nganc_\".

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 38 of 101 Page|D #:2060

Miller, Laura B. (co) (FBl)

From: Brian Esser

Senl: Tuesday. March 28. 2017 8116 AM

To: Mil|er, Laura B. (CG) (FB|)

Subjecl: RE: Mll|erCoors FBl matter (Allorney work product privileged and confidential)

Hello Laura, after investigating back in 2016 we found no legitimacy to the invoice. Furthermore we could find no traces
on the amounts being debited from our accounts. `l'hanl<s.

Brian P. Esser, Esq
(`nrpnrnlr‘ Cnlmwl/Sn\im' Dirm‘lm‘ nl`llisk
l{ul)_\"l`llcsda}', lnc.

mm B. <c@> <»=BI_

Sent: Thursday, March 23, 2017 2:35 PM
To: Brian Esser
Subject: RE: MillerCoors FBI matter (Atlorney work product pllvlleged and confldenlla|)

Brian,

l know it has been quite some time since our last e-mall exchange, bull was wondering if you were ever able lo identify
anyone from Ruby Tuesday’s with information about the invoice we previously forwarded to lames Vitrano. We are
scheduled for a trial date in late May 2017, and would like to identify anyone al Ruby Tuesday's with information about
the legitimacy of the invoice, or lack_ thereof, in advance of the trail.

Thank you,

Laura B. lv‘lll|er
Special Agent

    

From: Brian Esser

Sent: Friday, May 27, 2016 9:18 AM

To: Nli|ler, Laura B. (CG) (FB|

Cc: lames Vitrano

Subject: NlillerCoors FBl matter lAttomey work product privileged and confidentia|)

Hello Laura,

My name is Brian Esscr and l wanted to reach out to you regarding lVlillerCoors matter you have asked Ruby Tuesday to
look into. lames Vllrano who you previously contacted has asked me lo assist you.

l

FB|302_018-000017

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 39 of 101 Page|D #:2061

l have reviewed the questioned invoices you passed along, to this point no information has been found related to these
invoices. The questioned invoices span from 04-06 so the data is bit hard to locate and mine through ln our records t
plan to get some employee records to see if we can track down the possible Ruby’s employeeth may or may not have
approved these invoices. l will keep you updated and communicate when i have something more concrete. Until then if
you need anything else from us be sure to let us knovv.

Thanks for your time.

Brian P. Esser', Esq
Ruby'!`ucsday, Inc.

FB\SOZ__Ol 8-00001 8

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 40 of 101 Page|D #:2062

VENTS

MAHKET|NG NETWORK LLC

95 Mntl\c\vs Drivc. Ste. E7. Um't l33
I-lilton fleud, SC 29926

Bill To:

Mill».\r Bre\ving Compimy

3939 W. Highlond Blvd.
Milwriukcc, Wl 53201

Atm: Corporate Accounts payable

INVOICE

Numbcr 544710
Dnte: 9/6/2006
Q\ml¢= s'/sszt

PLBASB 1115le PA¥MENT To:
Evcnts Mnrketing Networl: LLC
95 Matrl\ews Drivc, Stc. E'I, Unlt 133
Hilton Head, SC 29926
phone: 843-384-7570

 

D.c:srw' lion
Po 100548521

H_g.~t Cost
540,000.

Account: Ruby Tucsdayr: Rcsiaumnt Chain - General Mau:igcrs Confi:rcncc
Scr\-iccs Includc: Bronze level reception sponsorship product <‘.icplay, sampling and sewers

 

WE APPRECIATE \'OUR BUSINESSl

Millnt~

Oom<_l_ Colleh~

Total Duc: S-;0,000.

gct;g K\’ 635 tz

(\>©$.\_~<9(9 q "z~'( " D(d

occurrener Di 01/ / /i !71_7i10 7
V£\‘oon&' 121 ll ]O’r li 571

Comrmv Copg

>Q':co l_`]rsoo L`_|noo Gsaoo l:]sooo
sum -zo:r m o:r\i.v. M_;}_D

 

CONF|DENT|AL

Mi|lerCoors/Colletli_003362 SJJ

FB|302_018-000021

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 41 of 101 Page|D #:2063

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 42 of 101 Page|D #:2064 ‘

-l of 6- iii OeHomLRecono

  

l"l)-3UZ (Rc\'. 5-8~ |())

l-`EDERAL BUREAU OF lNVESTlCA'l`lON

|);\l¢ r)l`ci\\n' 0 7 / 16 / 2 0 l 5

DAVID coLLETTI, Da:e of Birth (JOB): _ social
Security Account Number (SSAN): _ home address: _

Attorneys GE:NB MURPHY and RANI:-ALL Bort?.l<, MURPHY a :IOURIHANB, LLC, 161 North
Clark Stree:, Suite 2550, Chicago, illinois, telephone number:
(312)202-3200. CCLLE`.TTI, who was already aware 0:` the identity of the
interviewing Agent and the purpose of the interview, provided the following
information:

Prior to the onset of the interview, the interviewing Agent e-nailed
Lo GENE MUR?HY copies of nunerous invoices LhaL had been submitted Lc
MILI_EF. BREWING CCMPANY (hereinafter MILLER) Or MILLERCOCRS by VariOUS third
party vendors to include: AVA ADVERTISING, INC. (hereinafter AVA
ADVERTISING); AVA MARKBTING & COMMUNICATIONS, LLC (hereinafter AVA); F&B
MARKETING PROMOTIONS & INCENTIVES, LLC (hereinafter F&B); BEVERAGE INDUSTRY
MARKETING SE!RVICES, LLC (hereinafter ';BIMS I.LC); LO.\IGHI COLE` OPERAI‘IONS and
LONGH] GOLE` OPERATIONS, INC. (hel‘einafter I_GO),' BEVERAGE INDUSTRY MAEKBTING
SERVICES (BIMS),’ RAVE MEDIA & EVENT SERVICES, INC. (hereinafter
collectively referred to as RAVE); EVBNTS MAEKETING NETWORK, LLC
(hereinafter EMN); and RARE BEVERAGE CONCEPTS {hereinafter RARE). The
invoices listed various marketing, promotions or services allegedly
provided to MILLER or MILLERCCORS by the referenced third party vendors.
Copies of these invoices have been attached hereto and made part of this
FD-302. COL;ETT£ was asked to review the attached invoices in order to
determine if the invoices related to work that had been done by the third
party vendors for MILLBR or MILLERCOORS. CCLLETTI provided the following
information regarding those invoices:

AVA ADVERTISING, INC.

 

Of the twenty-two AVA ADVERTISING invoices Shown to COLLETTI,
COLI.ETTI identified two invoices that he believed could be legitimate The

 

l“wghmw"“\ 07/09/2015 al Chicago, Illinois, United States (In Person)

 

l"i|\l -'i

3lBA-CG-4668]l.7 1);“,_.`]".|\“| 07/13/2015

 

b`, SA Laura B. Miller

 

vl`l\i: do:umci\l conluim neither recommendations nor conclusions ol`lhc l"lll. ll is the properly i)l`l|ie l~'nl md is loaned lo _\‘orr ng,cn¢)': il and its i.'ol\:

rn b: distributed o\iisid: your iigcnc_\'. GOVERNMENT
EXH|B|T

Group Ex. 1(g)

 

FB|302_01 1-000008

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 43 of 101 Page|D #:2065
FD~3023 (Rev. 05-08-10)

318A-CG~4668147

CommummuiFDgozd‘Interview of David Colletti son 07/09/2015 2 Of 6

, Page

 

first was an invoice from AVA ADVERTISING to MILLER dated March 12, 2007,
titled “MILLER APPLEBEE’S Trivia Booklet Winning Combos” for a total amount
of $45,070. COLLETTI believes that based on the fact that the charges were
split out between “Applebee’s Creative”, “Applebee's Trivia Books” and
“FedEX Shipping Charges.” COLLETTI advised that this appeared to him to be
an invoice for work legitimately done by AVA ADVERTISING for MILLER.

The second invoice that COLLETTI believed was legitimate was an
invoice dated February 13, 2008, to MILLER from AVA ADVERTISING, which
included a total amount Of $96,300. The invoice was split into three
separate charges; $40,600 for “Created Hosts Services Menu-Graphic Design”;
$31,200 for “Milwaukee Airport Concepts Theme Bar Creative”; and $24,500
for “Update Alcohol Awareness.” COLLETTI advised that even though the
timing of this invoice is the same as the invoices used to pay debts
related to the CLARKE HOTEL, of which both COLLETTI and ANDREW VALLOZI were
both owners, COLLETTI seemed to think this was a legitimate invoice for
work done to get MlLLER products back into the MILWAUKEE AIRPORT. COLLETTI
explained that MILLER had a contract with HMS HOST for airport concessions
for a period, and then three years later the contract went to ANHEUSER
BUSCH for BUDWEISER products. HMS HOST was going to lose half of the
MILWAUKEE AIRPORT to another airport concession company called CREATIVE
HOST, which later became SSP AMERICA. As a result, MILLER had the
opportunity to get back into the MILWAUKEE AIRPORT through CREATIVE HOST.
COLLETTI believes that this AVA ADVERTISING invoice related to that effort.

COLLETTI also believes some of the earlier AVA ADVERTISING invoices
from 2005 were for legitimate work done for MILLER; however, he was not
`certain of specifics.

AVA MARKETING & COMMUNICATIONS, LLC (AVA)

 

Of the eight AVA invoices shown to COLLETTI, COLLETTI identified two
that he believed were legitimate invoices. COLLETTI identified a June 22,
2009 invoice which was for $56,300 and was titled “2009 SSP AMERICA Menu
Mandates” and a December 28, 2009 invoice for $45,000, titled “SSP
AMERICAJ” COLLETTI advised that MILLERCOORS paid SSP AMERICA for menu
inclusion. COLLETTI was not sure if MILLERCOORS used AVA in order to pay
SSP AMERICA for the menu inclusion, but COLLETTI was certain around this
time MILLERCOORS paid SSP AMERICA for menu inclusion.

COLLETTI advised that all the other invoices contained in the AVA
invoices shown to him by the interviewing Agent did not seem to be for
legitimate charges.

FB|302__011-000009

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 44 of 101 Page|D #:2066

FD~3023 (Rev. 05-08-10)

3lSA-CG-4668l47

CmmmumwndpDGOzM-Interview of David Colletti ’On 07/09/2015

,Page 3 Of 6

 

F&B MARKETING PROMOTIONS & INCENTIVES

 

COLLETTI felt like F&B was doing some promotional work for MILLER and
MILLERCOORS during the time period covered by these invoices. COLLETTI
advised the promotional work included things such as banners and pamphlets,
which that were handed out at the flea market, that contained MILLER brand
names. However, COLLETTI advised that the invoices from F&B were also being
submitted in order to pay for hunting trips taken by COLLETTI and FRANK
BUONAURO and guns COLLETTI purchased from BUONAURO. COLLETTI advised that
the F&B invoices were for a combination of both the legitimate promotions
as well as the hunting trips and guns. COLLETTI advised there was no real
delineation as to what money went to marketing and promotions, and what
money went to fund hunting trips and guns. COLLETTI advised that a majority
of the money went to guns and hunting trips, but some legitimate work was
done by F&B. For either purpose, COLLETTI confirmed that the descriptions
listed on the invoices did not accurately describe work being done by F&B
on behalf of MILLER or MILLERCOORS.

LONGHI GOLF OPERATIONS (LGO)

 

COLLETTI advised that of all the third party vendors that were
involved in the submission of fraudulent invoices, the invoices from LGO
contained the most legitimate charges. COLLETTI advised that more than half
or a majority of money realized from the invoices submitted to MILLER and
MILLERCOORS by LGO was for golf outings that actually occurred. COLLETTI
advised that although work was actually done in relation to these invoices,
the timing and description on the invoices submitted to MILLER and
MILLERCOORS did not accurately reflect what was being done. COLLETTI
confirmed that the descriptions on most of the invoices submitted to MILLER
and MILLERCOORS were not legitimate. COLLETTI advised the descriptions
contained on the LGO invoices were written in order just to get an invoice
“through and paid” versus containing a legitimate description of the work
being done.

COLLETTI advised that the LGO account where money from MILLER and
MILLERCOORS was deposited was basically a “slush fund”. COLLETTI advised
that the idea was to have money in the LGO account so when the time
occurred when they could do a golf outing, there was money available for
use. COLLETTI advised that for the most part, all of the invoices submitted
to MILLER and MILLERCOORS, although not containing a legitimate
description, funded actual golf trips.

The later invoices, which were submitted around the time COLLETTI was
getting into more financial trouble related to the CLARKE HOTEL, fewer

FB}302_011-000010

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 45 of 101 Page|D #:2067
FD-302a (Rev. 05-08-10)

318A~CG-4668147

CmmmmwndTDgozdzlnterview of David Colletti son 07/09/2015

!Page 4 Of 6

 

legitimate golf outings were being held. COLLETTI was having TOM LONGHI
transfer money from the LGO bank account to an account titled DPT, from
which COLLETTI could take the funds. As a result, there were more invoices
being submitted to MILLERCOORS that were not legitimate and were not
related to any type of golf event.

BIMS LLC

COLLETTI advised that the six BIMS LLC invoices that were included in
the invoices provided by the interviewing Agent were all fraudulent
invoices. COLLETTI referenced the dates on the invoices between 2009 and
2013, as a time when COLLETTI needed the money and this entity was created
for that purpose. As a result, none of the work listed on the invoices was
actually done and the invoices were not legitimate.

BIMS

COLLETTI believed that some of the earlier BIMS invoices from 2003 to
2005 were likely legitimate. COLLETTI noted the invoices from 2006 “jumped”
up in dollar amounts. COLLETTI believed that in 2007, ROD GROETZINGER, who
ran BIMS, filed for bankruptcy. COLLETTI advised that as GROETZINGER got
into financial trouble around this time, the invoices may not have been
legitimate. COLLETTI advised that the invoices started out as “advances,”
meaning they would “book” or invoice for something now and perform the work
at a later time. COLLETTI confirmed that these invoices would not have
contained legitimate descriptions, but actual work may have been done at a
later time by BIMS fOr MILLER Or MILLERCOORS.

COLLETTI advised that a June 30, 2005 invoice in the amount of
$62,828, which related to a training program and sponsorship for APPLEBEE’S
may have been legitimate; but he was not certain. COLLETTI referenced the
payment by MILLER for a “team building event” as something COLLETTI would
pay for through BIMS if MILLER could not pay the amount directly to
APPLEBEE’S.

RAVE MEDIA & EVENT SERVICES, INC.(RAVE)

 

After reviewing the RAVE invoices, COLLETTI explained that often
MILLER and MILLERCOORS would use GROETZINGER to pay people that MILLER or
MILLERCOORS could not pay directly. COLLETTI gave an example of HOOTER'S as
someone GROETZINGER would pay that MILLER could not pay directly to carry
MILLER products. COLLETTI advised that the RAVE invoices would not show
that a retail establishment or outlet was being paid money to carry MILLER
products. Nonetheless, COLLETTI advised this was occurring. COLLETTI
explained that BOB BROOKS, who ran HOOTER’S, told COLLETTI that it was
going to cost MILLER a certain amount to get a beer tap in HOOTER’S.

FB!302_01 1-000011

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 46 of 101 Page|D #:2068

FD-3oza (Rev. 05_03-10)

318A-CG-4668147

(hmwmmwudTDgozd‘lnterview of David Colletti lOn 07/09/2015

,Page 5 Of 6

 

COLLETTI used GROETZINGER to pay the money to BROOKS. COLLETTI advised that
for certain restaurants or airport outlets, COLLETTI would be told that if
MILLER wanted to sell beer in the establishments, MILLER would have to pay
a certain amount of money to have MILLER products sold. Although COLLETTI
confirmed that it was a type of “kickback,” COLLETTI advised that no one
would ever call it a kickback. Because MILLER could not pay an
establishment to carry its product, COLLETTI would go through GROETZINGER
to make the payment to HOOTER’S or other retail outlets. COLLETTI confirmed
that people at MILLER and MILLERCOORS were aware of the payments being made
on MILLER's behalf through GROETZINGER.

COLLETTI confirmed that two RAVE invoices listing COEX Events were
not legitimate. COLLETTI advised that he and GROETZINGER used COEX invoices
to “get money into GROETZINGER'$ hands.” The funds were either used to pay
people, such as BOB BROOKS of HOOTER’S, or the money went to COLLETTI or
GROETZINGER.

COLLETTI was then asked to go through the stack of invoices from RAVE
MEDIA & EVENTS SERVICES, INC. and identify the invoices that he thought
were not legitimate. The invoices identified by COLLETTI as not being
legitimate were as follows:

~ lnvoice dated 9/05/2000 from RAVE MEDIA to MILLER listing a description
as “Services in connection with the leland of Capri” in the amount of
$21,639.

- Invoice dated 9/08/2000 from RAVE MEDIA to MILLER listing a description
as “Services in conjunction with APPLEBEE’S” in the amount of $50,823.

~ Invoice dated 6/12/2001 from RAVE MEDIA to MILLER listing a description
of “Services in connection with Hotel/Motel Show 2001” in the amount of
$26,310.

~ lnvoice dated 7/ll/2001 from RAVE MEDIA to MILLER listing a description
of “Services in connection with COEX 2001” and listing a cost of $23,835.

- Invoice dated 2/06/02 from EVENT SERVICES, INC. to MILLER listing a
description of “For services in connection with the COEX Show” in the
amount of $47,317.

- lnvOiCe dated 9/30/2004 from EVENTS SERVICES, INC. tO MlLLER listing a
description of “Midwest Tribal Gaming Convention-Sponsorship” in the amount
of $20,000.

- Invoice dated 9/30/2004 from RAVE MEDIA to MILLER listing a description
of “Ad Development and Ad lnsertion-AMERICAN BEVERAGE INSTITUTE (ABI) Media

FB|302_011-0000’|2

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 47 of 101 Page|D #:2069
FD-soza (Rev. 05-03_-10)

318A-CG-4668l47

Cmnwmmmu§pD@OzM-Interview of David Colletti son 07/09/2015 6 Of 5

, Page

 

Guide” in the amount of $7,000.

_ thOiCe dated 12/09/2005 from EVENTS SERVICES, INC. tO MILLER listing a
description of “OLIVE GARDEN-General Manager’s Conference” in the amount of
$20,500.

- lnvoice dated 2/3/06 from RAVE MEDIA to MILLER listing a description of
“APPLEBEE'S Training Guide-National Accounts” in the amount of $36,000.

- Invoice from EVENTS SERVICES, INC. to MILLER listing a description of
“Chain Operators Exchange” in the amount of $47,600.

EVENTS MARKETING NETWORK, LLC

 

Of the twenty EVENTS MARKETING NETWORK, LLC invoices shown to
COLLETTI, COLLETTI advised that none of the invoices were legitimate.
COLLETTI advised that the invoices did not contain accurate descriptions of
work done and COLLETTI does not believe there was work done for any of
these invoices.

RARE BEVERAGE CONCEPTS

 

Four invoices from RARE were shown to COLLETTI. COLLETTI believed
that the one dated 2/19/2009 from RARE to MILLERCOORS in the amount of
$46,530 may possibly have been legitimate. COLLETTI believes that
MILLERCOORS paid a cruise line for something, but COLLETTI was not
completely sure if this invoice related to that paymemt. COLLETTI believed
that the other three invoices from RARE were legitimate. COLLETTI said he
could not put it at 100 percent certainty, but thinks that the invoices
seemed to be legitimate.

P&D MARKETING AND PRIME PROMOTIONS

 

COLLETTI was then asked about invoices from PRIME PROMOTIONS and P&D
MARKETING. COLLETTI was not provided with invoices from P&D MARKETING or
PRIME PROMOTIONS at this time to review; however, believed that he would be
able to identify the legitimacy of certain invoices if provided the
opportunity. COLLETTI explained that most of the P&D and PRIME PROMOTIONS
invoices were not legitimate. Although SCOTT DARST and JAMES RITTENBERG did
some work early on to get MILLER into the SEMINOLE TRIBE CASINOS in Florida
and then a few additional lndian Gaming Reservation Casinos in New York and
on the West Coast, the majority of invoices from P&D MARKETING and PRIME
PROMOTIONS were not legitimate.

FB!302_011-000013

 

w Looo_t§@\$§b§£']§a'§:-{Cr-OOZ€O Document #: 258-2 Filed: 07/20/18 Page 48 of 101 Page|D #:2070

 

~... ,._. '$- " a
~:,% §

m _ ` 154 men ouy Road. sure a
amon need miami so 2992

INVOIC‘E
Date invoice # Quofe # Terms
3/24/2006 5327 5236(5) k wet 30
Bi!|To: comm
Mmara.w)ng company mfg °¢ 0 57 63 ;7
3838 W. Highllfe Ptace Ve~noa z
Mirwaukee,w\sszoa_zase com 0 Ca cl §
' ”ANY Coc>
l%zoa films mo asz ma
174-em a mo

Client: Mlller Brew|ng Company ‘“*--~ umw

Purchase Order: 100519003

Project: Beverage training guide (Piuquat~ |ndian gaming)

Description: beverage alcohol guidelines

Services )nc!ude: services for content research out€{nes/oopy drafting and revisions Graphic design/layout
to wm

Amount Due: 318.520.

F`P

d g;., m Please remit payment tex
" “ 3 §7. ’::.";$!;~' BIMS
154 Beach City Road, S§e. B
Hllton Head, 80 29926
TaxlD: XXX-XX-XXXX
Phone: 843~342~5355
st: 843-342-2245

'fp'_o_e!: (@z§zooo s
La#@§ cosmmmr# :_

@LQ mccon€# §ec<> C)?> to
F;CL(\)O§ assumean l\\fl` il

 

  
 
 

 

c x vii ~ ..
. P‘/U\t§`(QA/@if.

CONF!DENT|AL Mi||erCoors/COH€W_QOSJ\S

cth

 

' Ca_§e: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 49 of 101 Page|D #:2071
SL LOOO'L LO ZO€|E|:|

t , RECEWED BllIVIS

 

 

s »:»
51 ~f? `Q
sun 0. 2005 am sgt
OUNTS
NAT\ONAL AGC 1545 Beeoh C!ty Roed. Su!¢e 8
Hlton Heed lsland. SC 2992
INVOICE
Date |nvofce # Quote # `z“erms
6/1/2006 5962 6006 Net 30
Bill To: -
Mi|ler Brewing Company 4
3838 V\}l<. nghllf€ PlBBB DQCUMENT#|_Q`C? 04 61 913 r d/\"Zl_%l 35
Mllwau ee, W| 53208-2856
’ VEmDH# yrg'l /10| S!“;z\$l
l CQM?ANY CQDB
owe C]-ssoo [:_\7700. Daaoo flaum
Cl¥ent Mil!er Brewing Company
Purchase order1 100530871 8°1"~2°°’ m__-- “*“L°'M §’//$'
F’rojeci: HMS Host ‘
1 Dascription; Menu beverage program
C Serv!oes |nc}ude: services for creation and development of beverage training materials research
‘ developmentand creative design y ’

Amount Due: S23,250.

g Please rem¥t payment to:
BIMS
154 Beach City Road, Ste. B
Hllton Head, SC 29926
THX lD: XXX-XX-XXXX
Phone: 843‘342-5355
Fa>c 843\-342-2245

3?©4=1; (©03?>®§;:;)

x.o. # se §§‘;[O msr simms Z(M
\ D) 4 TAXCoDE#A@E\\) {l§‘§>

DESCRIPTION

' \"B, APP '

 

 

 

 

 

 

CONF|DENTIAL MillerCOorS/Collefti_OOB‘i 97 4 i(`)£,

 

Ca_se: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 50 of 101 Page|D #:2072
QL LOOO'L LO ZO€|E:I

C
' . sEGE\VED BllM 5
nn ne nev , ama

'*'.s~
z s
NAT\QNALACGOUNTS ’"G “
154 Bea-:.h Ci!y Road, Suite B
Hz'lton Head ls\and, SC 2992
INVOICE
Date invoice # ' Quote # Terms
6/8)2006 6114 6011 Nef 30
Bi\| To:
M|\ler Brewing Company ' DOCUMENT#\_@, 0 1 0 l d , g , 3, C/£\,Z 1:/, z l

 

3838 W. _Highiife Place
Mllwaukee, WI 53208-2866

\-z\ /ro\ié;aq`ljs

Ve~ooa #
" mempva Cooz-:
men C\dsoa C|mo L'_]sma E]eao:)

Cllent: Mitler Brewz’ng Company mbm U_______ um\.n..¢@_? G//s"'
Pumhase order; 100531328 '
Proje¢>t Buffa(o Wild Wlngs (BWW)
. Descrfption: retail trainan program
C Servioes lnc:|ude: content research outline/copy drafting and revisions graphic design and Iayout,
fifm and printing
Amount Due: $52,700.

l
i'l’c
1|3

Please remit paymentfo:
BlMS
154 Beach Clty Road, Sie. B ’
Hllton Head, SC 29926
Tax lD: XXX-XX-XXXX
Phona: 843-342~5355

’\>©4& [Oos?>i?>&§
1.0.# '9@®1@¢_{ cosr simms "7{-»{ §Q_(_, )§j)
TAX cor)E# A@EN M§D>

----'“*““*"‘“""”“"`“"“" mcmann ”"tr“ro)\`>.)<n< lB\N\I\/

W\Ci C®\/\Q$fl "APPRovAL Q\@_l. -

CONF|DENT|AL Mil|erCoOrs/Colietii_OOBZO1

 

 

299

 

Ca_Se: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Pa 51 f -
LLLOOo-L to zo€la:\ 99 O 101 PaQelD #.2073

 

h o 2 IN b
.. W A$g_b 05`?;9
... § §§ .A
C § B|!IWS
9. ' '
§ `¢3%_ &0#5’
arms 59~?"`\
154 Bea:h Cify Road. Su!\n B
H\?lon Head lsland. SG 2982
INVOICE
Date lnvoloe # Quote # Terms
9/7/2006 6185 6110 ` Net 30
B!|| To:
Mlller Brewlng Company

3838 W. Highlffe P|ace
Ml\waukee. Wl 53208.2866

Cliant: Mirler Brew(ng Oompany
Purchase Order: 100548463
P¢'oject Hooler~s
C` Descrip'don: beverage training guide
Servlws includes creative design and layout, content research outlina, copy drafting and revisions

Amount Due: $51,600.

 

Please remit payment hoc
B!MS
154 Beach City Road. Sle. B
_., }-iilton Head. SC 29926
Tax !D: 582~36-2091
Phone: 843-342-5355
Fax: 843-34%2245

Dosumm#¢ (010,0. /, /l /17‘§;(§1;_}\“(/0”

S,L /¢ c). O.B~,§J
, f
Ma\\"r’b/¢\V

GoMPAr¢Y Comz
CONFIDENT|AL Mi|lerCoors/Co|letti~_003205 @

V£Nnoné‘ 1
o Clwao ljmo L'_}saoo C]aaoo

¢S:::-ZSOT n ug,;|_p. Mi'cgz

 

/`*}

 

 

Ca_Se: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 52 of 101 Page|D #:2074
QL LOOO'L LO ZO‘<`.|E|:|\

-1-#“

 

53

l
1

Eii»iR 20 i-°'M 2

» , ` he a INb
4‘5% 0“9):?
¢$‘° ~"
'é- ¢=
¢M'¢
‘~SY`INa s\’F`
154 Beach Ciiy Road, Sdie 8
Hilion Head lsiand. SC 2992
INVDICE
Daie _ lnvoice # Quote # Terms
3/12/2007 7225 8107 Net 30
Biii To:
Mi`liar Brewing Com pany

3838 W. Highiife Piaca
Miiwaukee, Wl 53208~2856

Giient: Miiier Brewing Company

Purchase Order. 100582219

Project: Darden Beverage Aicohoi Training Guide

Desoription: retail training program

Se:vices includes content research outiine/copy drafting and ravisions. Grapi~:io design/layout to flim,
printing

Amoum: Due: $28.749.

Please remit payment to:
BiMS
154 Beach Ciiy Road, Ste‘ E
Hiibon Head, SC 29§26
Tax|D: XXX-XX-XXXX
Phona: 843-342-5355
Fax: 843-342-2245

 

DOBL\MENT#i wl 691 01 /:7£15 &191 /1§_\| I/(w//
,c§)'i /, 571 én' Q..§.

V nR# r
OoMPANv CQDa
100 E]»:soo C]mo C]eeoo i___laooo

sam-2001 L__¥ mm.LM 5/%

 

GONFIDENTlAL wmlercoors/coneui_oosm2 @

 

Case:1:15--cr -00260 Document #: 258- 2 Filed: 07/20/18 Page 53 of 101 Page|D #: 2075
BLLOOO' LLO ZO€\E:|

 

 

 

 

137qu s`E`?‘

154 Bedbh Ciw Ruad. Sule B
Hlifon Hvai! ixiimd. 86 28928

INVGICE

Data invoice # Quole # Terms
9/14/2007 7336 8204 Net 30
B|ii To!

Milier Brewing Company

3838 W. Highliie F“iaoe
Miiwaukea. Wi 53208-2865

Client Miller Brewing Oompany
Purchasa Or'dex'. 10062164~6

Projeci: Professionai basketball program (NBA) Bar and Tavern ideation
Desu'ipiion: retail promotional materials
' Servioes indude: content research outline/copy drafting and revisions Graphio design/layout to finai fiim.

Printing and fuiflilment
Amount Due: S‘i'i,ZDO.

 

154 Beac>h ley Road, Sie. B

Plaase remit payment io*.
BiMS

Hilton Haad, SC 29926
TaxiD: 582»3&2091

Phcsne: 843-342-5355
Fax: 843-342-2245

Dunem# 0/¥8;19.853-\
ncr Q, 9_

 

w®U/Jcc:\ C©{ ‘{)H\

 

1 / 0
Vniooa con
COMFM~:Y am
mo fleeing fines i_‘,]esoo L'_]
O_F____,,__.._- timm
i‘AB

17§- -2 /0/7,7

€<)NFlDENTIAL Mi\ierCoors/Colierti_003218 135

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 54 of 101 Page|D #:2076

 

 

Dooumnrr#iéoi(;)ioi(?i-g?i/ iiLv[~S`oz-)r/

l VE.NTS vsiiiiiii# io? ij /i 57

\Icor,mmv Oona

 

 

mAnKETmQ NETwonK 1.1.0 - 100 waco amc mason mm
95 Ma§g§l?lo;€!rg§'.$§%§g§% mm 133 ' sowa-2001 d [.l umini@[&?d
neoi=.wEr) INVMCE,
.iUii iii§ZiiiiB ~
NA”\‘\ONAL ACCOUNTS Number 54323

D£Xte.' 6/13/2006
Qitofe.' 5 74379

 

Eiir To: v PLEASE REMITPAYMENT ro:
Mh'ter Brewing company Evants Marketlng Nenvaric LLC
3939 W, Highimm Bivd. - 95 Martutews DrIve, Ste. Ef, unit 133
Mllwauicee, WI§$ZOI Hiiton Head, 56 29926

` Attn: Corpamte Accomztr Payab!e Phone: 843»384~7570
£e£££l£l»'!!ll M¢t_ca_s;g
P0 100531355 4 $5'3 500.

Account: Amer!c¢m Beverage Institm‘&e arm
Services luciud_e: nude 5Iww Sponsarship~opem'ng reception including cocktail party
and sponsorsizrp r‘ee

 

rotarqu 553,500.

iri

WE APPRECIAZ'E YO£(R BILS`INESS

\<>0‘§51?>§§

w » DQQUB con nnvinri# SLS&®
1111 wconr#M M§

"D@W‘\@L CQ>\\€;&\_ DESCR\i’iiGN MMA
APPROVAL W'

QZG~

CONFiDENTlAL v N\iiierCoors/Co!\etti_003354

FB|302_01 1-000122

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 55 of 101 Page|D #:2077

 

 

 

 

.ia_~=* _-1
EVEN l S DocuME¢n#lé……OOOQ~g/ivcf£gezi/
VeNooa§ La?i /i C? / i\_§_l i
MARKETING NETWDRK LLG . ComP/\Nv cons
95 Machews Drive, S£e. E7`Unk 133 )2@1°° L__\45W D??OO mason L‘_]aooo
union uead SC 29926 ' W_m g umw § ago
RECE!\/ED
mix n s ms INV"ICE
NAT\ONAL AGCOUN?S Number 1!932

me 6/09/2005`
Quofe: 5 74355

 

BHI To.’ PL£ASE REMIT PAYMENT To.'
Mmer Bre wing Company wants Marke&mg Nehvor!c LLC
3939 W. Higlrland 811/d 95 Maithews Drive, Ste. EZ, unft 133
M!!waukee, wl‘ 53201 H!Iton Head, .SC 299th
Attn: corporate Accounr.s Payab!e mone: 843»384-7570
£§S.SCIELLGB _N__Et Co_£t

Po 100531354 - $26,500.

Accouin\‘.: RGUNDTABLE PIZZ/l
Sarvices mclude: sponsorship fee and product display

 

Tof:al Due: $26,5‘00.

 

WE AFPRECIATE YGUR B(LS`INE$`$

ip©)ik l O©‘$E>z:~`>§\~
io. # MW cosm.€rimirr# _§l§_<§@_@

TAxconF.# ‘“,';Snmv\ A@i
ig` E_Q(SL\)?

m-:scmmon
APPRovAL 4@§‘€3»

  
 

DR/\»`d C@\Ut'i

63

coNF\DENTl/\L Mineicoors/couem_oo§z&§,/

FB|302__011-000123

 

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 56 of 101 Page|D #:2078

 

 

_i-m
4 v
l ‘ 3 . q 1
¢..L
\-*~
E\/ENTS §
MARKET:NQ N Twom< LLC §
95 Maxhcws Driv¢. Sc¢. 27, Unlc 133 §§
mhan]-Iend. SC' 29925 §
INVOICE
Number 544627
Da%.e: 7/21/2005
Quote: 575421
3m To: PLE¢LS£ REMZ¥' PAYM£NI' ro:
Miller Brew!ng Compmly Events Marlceemg Nei:worlc LLC
393.9 W. Highlcmd Blvd. 95 Matt!zews Drive, 5£€. E?, Unr'f 133
Mll)mulcee, M 53201 mann Head, 56 29926
Attn.' Corpamte Accounts Payab!e Phone.' 843»384»7570

 

Uasc)'fgg'og w
PD 103540748 ‘ $46,,500.
. I-foodsewice operators (MllF$O) mid-year conference

Services Inclzlde: Reception spousessz and exemt!ou, product alsplay, sampling a)m'
servers

 

Tctul Due.' 346,500.

WEAPFRECM?I" YOUR BU.S`INESS

1 HBG ma 3:01

W\é\ CO\\@'M

DDCUMENT#! (/o 01 01 01 /\ L?!c X;zd\ £?/¢€Z)
VENDQR# lmra {¢?1 /a§:j_;

Gm.sPAuv Cooe

/éq{oo [[4500 Dmo C]seoo flame
som~zow a umw.;&£?_®

coNFlDENTJAL Miuercoors/couem_oo 35??)€,

 

 

\

_»

FB|302__011-000124

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 57 of 101 Page|D #:2079

A,' '\

VENTS

MAHKET|NG NETWORK LLC

95 Mmhcws Drlve, Sce. 157 . Un!l 133
Hllton Heud, SC 29926

Bill To:

Millcr 'B:cwing Conqoany

3939 W. High!nnd Blvd.
Milwa\lknc, WI 53201

Atm: Corpora(¢ Acco\mis Paya\'blc

INVOICE

Numbcr 544710
Datc: 9/6/2006
Quotc: 575521

PLBASB RBMIT PAYMENT To:
Evcms Mnrkcting Necwork LLC
95 Matthews Drive, Stc, B7, Unlt 133
Hi!ton I-Iead‘ SC 29926
Phcne: 843-384-7570

 

maximum
Po 100548521

}_I_gt Cost
SAO,GGO.

Accoum: Ruby Tueadnys Restaumm Chain - General Manugers Conferencc
Scrvices Inctudc: Bronze level reception sponsorship, product display, sampling and sewers

 

Total 'Duc; 840,000.

wE APPREC!ATE YoUn nustEssr BQ;BW dana

D@W\.d O@UQ,H§

Pbg»\~€cg q“Z/{ °‘ D(¢'

UGGUMENT#|Z@\O\B\ ll /¢j/»qj¢él/]¢
VENOOB# lcr~)l ]\ ah /15,1-71

0oMFANY Cone

;§E'xoo C]4soo L__]mm Ueaoo flame

smu-2007 a uam.n.M_iD

 

CONFIDENT|AL Mil|erCoorS/Coi|etti__003362 6 AJ

FBI302_O11-000125

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 58 of 101 Page|D #:2080

 

' L».w
)

f " \/ENTS

MAHKETING NETWORK LL¢

95 Mnd\e'ws dec, St¢:. E7, Unic 133
Hilton Hcad, SC 29926

Bill To:

Miller Brewirxg Company

3939 W. High\and Blvd.
Milwsmkee, Wl 53201

Ann: Corpomw Accouncs Payable

§§
.*~
wl
§§
vii
]NVOICE
Number 543222
Daie: 10/16/2006
Quotc: 575610
PLEASE REMLT PAY`M'ENT To:
Evcn\s Markcting Network LLC
95 Mntdlews Drivc, Stn.E'/, Unit 133

Hilton Hcad, SC 29936
Phonc: 843-384-7570

 

ro: 100556677

COE`X Cocwzntion (Chain Opera£ors Exchunge)
Services Includc: bomb set~up & cca:do\vn, audio r

Lle§ Cog$
548,000.

emal at boo¢h. opening reception no include

 

C" .A Ccckudl party, Ta!ent fee (3 days). Sel} sheet dcve]opmcnt- 2 aided

Tomlm=: ' 348,000.

WE APPRECIATE YOUR BUSINESS!

 

bow 09 Q@(,!~e+i%

DOGUMENT#;__@¢ 040$ /1 /1 31 41 ’7:~51'~:2
V£Nnoa§ 'r O?\ /l 31 1161 21

Gomlmv Coue
@HE` C]¢aoo L'_]mo Clsaoo C\eooo

sam-mr 111 umw

 

 

 

CONF!DENT|AL

MillerCoors/Co|letti_OOS36§ §

FB\302_011-`000126

 

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 59 of 101 Page|D #:2081

 

VENTS

MARKET|NG NETWORK LLC

95 Mathews Drivc, Stc. E7. Unit 133
Hll!on H¢ad SC 29926

Bill To:

Mill¢r Brdwiug C'ompzny

3939 W Highland Blvd
Mllwaukee, WI 53201

A:to: Coq:oratc Acccunts Payablc

WWV~

HQRIBPHZ:‘Z£!
HHR‘ZZMS:OO

INVOICE

Number 62725
Date: 3/14/2007
Quobe: 6461221

PLBASB REMIT PAYMEN'I` TO:
Evcnts Mad<et!ng Network LLC
95 Matthews Drive, Sw. B'I. Unit 133
H"mon Heed, SC 29926
Phone: 843-384-7570

 

D_mdmm
PO.' 100582290 »
Nallona! indian Gaming Confcmnc¢

get Cg§§
337,500.

Sendceslno!ude: reception sponsorship and execution produ¢t display sampling md sewers

 

WE AI‘?R`ECIATE YOUR BUS]NESS!

 

Total Due; $37,500.

WM

Dcnu:¢smr;

VeNooa# 1 ,..1.::/ `5’ 7 '
GoMm\NY dolan

mo 1134500 Dnuo mason Clanoo

 

 

smm~zoor G____M umw.&_£],§§

CONF|DENT|AL MillerCoOrleolletii_OOGS'/'O 233

FB\302__01 1-000127

 

 

Case: 1:15-cr-00260 Document #: 258-2,Filed: 07/20/18 Page 60 of 101 Page|D #:2082

W

r\. o

 

§§
m
§
WW §
95 Mathews Drive. Sce, E?, Unit133 3
Hilton Head. SC 29926
INVOICE
Number 62712
Datc: 3/9/2007
Quote: 6453213
Bill’ro: ' PLEASB REMIT `.PAYMENT TO:
Millcr Brcwix\g Company Evems March Network LLC
3939 W. High|and Blvd, 95 Mauhewa Drive, Ste, E'I, Unic 133
Milwaukce, WI 53201 Hilton Head, SC 29926
Attn: Corporate Accounts ?ayablc ‘ Phonc: 843-384-7570
Qe_serindsm ¢= ‘
`FO: 100587.283 335,000.

’I`OTAL EN'I‘ERTAD\!MENT GM Confbrence (Bronze sponsorship)
Servicgs Iochxie: reception sponsorship and execution. product display and sampling

Tota! Duc: 835,000.

WE APPRECIATE 'YOUR BUS!NESS¢

 

.\p/

Q\ O‘-°Qj \ Documsm #\QKQ~QA.L?LELS_Q@
VENDGR# 1021/l ¢/46/17__,

~ GoMPANY Con\.=
M Emo Dnoo mason Daoco
80174~2001 m
.._. M!|P‘Mé§

 

Z,Z¢Z Hd B`£ HUH

CONFIDENT|AL NlillerCoOrs/Colletti_OOSB'/'S

ZZMJ

FB|302_O11-000128

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 61 of 101 Page|D #:2083

 

 

 

"T
¢\!
VEN l S *°
\"\
§
W&MM §
95 Machews Driv¢, St-:. 137 Unlt 133 §§
Han Hea<l. sc 29526
INVOICE
Numbcr 62744
Dalc: 3/26/2007
Quotc: 6461237
Bill To: PI.`EASE RBMIT PAY`MS.NT TO:
Millcr Brewing Company Evenlz Mar)<¢ting 'Notwork LLC
3939 W. Higvland Blvd. 95 Mat:hcws Drive, S£o. E’I, Unit 133
Milweukze, WI 53201 Hil¢cm Head, SC 29926
Attn: CorpomteAccounts Payablc Phone: 843-384-7570
n . . v
P,Q=, 1 gosas:abv szz,eeo.

lowe Vnnnn'e Panners (JVP) - Dutbmk Swakhousc Coni`cx¢ncc~ Fostm:‘s sponsorship
Services mcludc: sponsorship fee and product display

 

Totnl Duc: 322,500.

WE A.PFR.ECIATE YOUR BUSINESS!

 

W’\ `

./

EGLW$L}../@Z'>.“'O. "/. "%/.5"'.`2;§1&"

 

 

Vauuon#
GoMF xv Gonu
[]osoo C|¢sou Clsaoo 113qu
smn~cosa usan 3
(¢;0(.`> EIC>O
CONF|DENT|AL MlllerCoors/Co|!etti_003376 `
Z 5 '\

FB|302_O11-000129

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 62 of 101 Page|D #:2084

l ¢

 

 

W
VEN l S § 551
§
MARKETING NETWORK LLG m
95 Mmh¢ws de¢, scm 157, unz¢ 133 §
Hiltc>n Hcad, SC 29926
INVOICE
Numbcr 62743
Da!c: 3/26/2007
Qu<>!e‘. 646!246
Bill 'I’o: PLEAS)Z RBMIT PAYMEN'I' 'I'O:
Mil!a' Brew‘mg Company Bvents Marketx’ng Network LLC
3939 `W. Hfghlaud Blvd. 95 Ma¢thcws Drlve, Sw. E7, Unit 133
Milwaukee, WI 53201 Hilton Hcad, SC 29926
Atln: Corpomle Accounts Payable Phone: 843-334-7570
c
SB0,000,

.Q£§S:§plm-. .

PO: 1005852j10

General Mai)afgars Confareace ¢ Fox & Hound account

S':rvlees Ino!udo: “I"ostsr’s" sponsorshlpfee andproduct display

Totaane: 530,000.

WE A`?PRECIA.TE YOUR `BUSINESS!

,¢
.

/

'0000MEM #:LLO\O 1 E~STZ-ljlj\l£m"
V£NDOR# LGZ\ l si §:/ \5'¢"71

CoMPANv Coon

‘[Ilowo Desoo mo L`_!eaoo C]aeoo
som~zooa D_________ umwé@

» ‘ ~ ¢-_»~_. ,__.. ,.. ,.._, ._ ` _ g~

 

 

 

.v¢.f~ ¢'-'*' `
Q. \.J<.,/\..;‘-'U

 

CONFlDENT|AL Mi|lerCoorS/Collefii_0033792(§~
f

FB|302_011-OOO130

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 63 of 101 Page|D #:2085

YWY

    

 

W

§§

MARKE'HNQ m 'rwoax LLG §§
95 Msnhews Drive, S!.c. E?, Unit 133 m

H!!tou Hcad, SC 29926

INVOICE

Numbcr 52752
Date: 3123/2007

 

Quote: 6461225
Bill To: PI.EASB RBMIT PAYMENT TO:
Ml!lex Bmwing Comp:my Bven\s Marketing Network LLC
3939 W. I-Egh]nnd Blvd. 95 Matthcws Drivc, Bce. E?, Uni! 133
Milv.'auke¢, Wl 53201 Hilton Head, SC 29926
A£tn'. Corporato Accounls P¢\yablc Phrme: 843¢384-7570
L . . Heg gg;g
I’O: 100585265 525,000.

GM Contbrcnoo - Olive Gm'dcn (Duden)
Scrviees Inc!ude'. Pexonl sponsorship fee wrbronze level participation at the confmmcc
with product display and sampling

 

Tol.al D\xc: 825,000.

WE A.`FPRECIATE YOU'R BUSB\'ESSX

(D,M
`5;;§,.,€~§;¢.¢,"0, 6, g l §§,§'. 3,.3`."4£{;@"` ."
Vermca# 1._.¢':\?1)_ /\ ¢?\ j \6-`\ L

Comxmnv Cooe

[]4500 [;]?708 mason mama

 

 

som~eooa m _ umw._~§%@
“7<% "7 \ 240
CONF|DENT|AL NlillerCoors/Collet\i__003381

2?')\¢»

FB|302__011-000131

 

Case: 1:15-cr-00260 Document #:

 

258-2 Filed: 07/20/18 Page 64 Of 101 Page|D #22086

 

 

§§
VEN` l"S
x
LT\.
W~M__W.K_L_e.e §
95 Mam¢wsnravc,s;¢.m.nm; 133 &
Hilton Hend, SC 29926
INVOICE
Number 62754
Da£e: 3/29/2007
Quote: .6461247
Bill To: PLBASE R£MI'I' PAY'MENT TO:
Millchrewing Compauy `Bvents Mark¢dng Net\vo;k .U_C
3939 W. High!and Blvd. 95 Matthcws Drivc, Ste. E'T, Unit 133
Mllwmlkee, Wl 53201 Hilton Hend.. SC 29925
Atm: Corporatc Accounts Payablc ' Phone: 846-3 84~7570
D§sn'misn M§s
PO:100585266 SIZ,GOO.
Gen¢ra¥ Manngcrs Confcrcuco ~ Fox & Hound

Serviccs Inc!udc: "Pitsncr Urquel|" brand sponsorship fee and product display

Tota.l Du¢: 312,000.

WE AI’PRECIATE YOUR BUSINESS!

 
 

 

 

newman # 5 gi
Veuunn § 1 021 j l v
v ccmm\uv Doon '
MF Cl4soo l'_'lwoo flame []eooo
59174 ‘2@3 m Unq il],! :'M~B \>
“7 9 L~l 000
CONF|DENT|AL

Mil!erCoors/Co|letti*OOSS82§ lt

FB|302_01 1-000132

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 65 of 101 Page|D #:2087

 

 

~'\/ENTS 1

 

 

MARKET|NG NETWQRK LLC §§
95 Mam=ws Drive, sxe. Ev, unit 133 ,».';,~
Hilwn H¢ad, SC 29926 Fl
»;`»j
OC]~ 1 0
3002 leorcE
Numbcr 63483
Date: 9/20/2007
Quotc: 6532628
Bill '1`0: FLEASE REMIT ?AYMBNT' TO:
Mill¢:r B rewng Company Evonts Marketing Netwodc I.LC
3939 W. Highland Boivd. 95 Matt!;:vi's DlI;lIve,fi;.C`Eé'?g,ng!sni£ }33
Milwnukee, \V'f 532 l i tcm ca
Attn: Corpoxatc Accounts Payab\c Phone: 843-3 84~7570 l
c . .
PO: 100623303 348`,000.

MuItI-Unit Poodservice Operators (MU'FSO) Confercnce
Services Include: Boocb set-up & teardown, aud!o rental at booth, talent the (4 days),
Setl sheet development - (2 sided) as bandout _ .

Total Duet 348,000.

WE APPRECIA.TE YOUR BUS!NBSS!

    

eot»\vmw Couz

j no MEN\'
“/M¢ HW'/z) '[\)M:on#§

 

 
   

game Dl.soo C\mo Deeoo L”_laoun
\!m\i.°.
“` 80\14-2055 .
l
W'\c\ C@lt€ Hd
CONFIDENT|AL Mi|\erCoors/Colletti__OOSBBS 33
- m

FB|302_011-000133

 

 

Case: 1:15-cr-0026O Document #: 258-2 Filed: 07/20/18 Page 66 of 101 Page|D #:2088

_.».,_` ,_ W @’“`/¢,Ooo
VENTS c¢.zg»zc,..Q/@/

. 95 wmewsbav¢, s¢e.m Unic 133 65
men blm sc 29§26 vs
id .
INVOICE
Number 63488
Dato: 9121/2007
Quote: 6532545
B'dl To: \ ` PI..EASB REMH‘ PA¥MF.N)? 'I‘O:
MiHeer\ving Company Even¢s Markedng Network LLC
3939 W. mghlaod Blvd. 95 Matthews Dr|ve, Ste. B7, Unit 133
Hillon Heéd, SC 29926 ’

Mi\waukee, WI 53 201
Attn: Corporatc Accounts Paya‘ble Phon¢: 843»384~7570

 

 
        
      

 

Ds§.cdn$ien ‘ bia goal
?O: 100623303 346,830.
Amcrican Bevcra ' te (ABT} Fall Meedng and Rctai!cr Go!fTo\xrnamcnt
p `
Serviccs Include: banner and slguagc development-for display at each void, product
and sampling at each holc, display fn hospitality tcm featuring Millcr produocs,
Receplion sponsorship
Total Due: 346,830.

WE APPRECIATE YOUR BUSINESS!

\
OCZ,L);S COU€.KL"}`\ j

  
     

 

DocuMs¢rr §
VENooR# 02 / \5""
` OoMPAeev Go ns
MUUUU mp]m mason news
50\74 ~ mg n
. .. U!W.
CONF|DENT!AL MillerCobrs/Co§leltl_OUSB89 "'"

ZSV\'

 

FB|302_01'E-000134

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 67 of 101 Page|D #:2089

 

 

 

 

 

 

  

 

 

MAA) 6
2003
MARKETI NG NETWQR K LLC
301 Cen!ra$Avenua, Ste. 244
H|\lon Hsad, SC 29926
Phone! 843-384~7570
Fax: 843-342~7588
IN'VOICE
Number: 72432
Date: 2/27/2008
Qucfe: 6624833
BilL To: PLEASE REM|T PAYMENT TO;
Miller Brew!ng Company E\'ents Mad<e'ting Network, LLC
3939 W. High!and B!vd. 301 Centml Avanue, Ste. 244
Milwaukee, W| 53201 Hilton Head, SC 29926
De$gjg§fog gaf Co${‘.
Po: 100654706 348,620.
Chain Operators Exchange (COEX)
Exhibft/Sponsorship
Services fnclude: standard 10’ x10' disp\ay booth wl upgraded furniture package
2 temp hosts/hastesses, entertainment co sponsor
‘ mal nue: $43,620.
WE APPREC|ATE YOUR BUSINE$S!
L@ @U@»+\ @M/
Docuueu’r #MAMQ;Q:*
chooa# L 52 / § } `.`S 7
Dom»)\m» cons
0100 Cl¢soo Dnoo Dsaoo flame
som~moa m umm_M§g
CONF|DENTIAL N|illerCoors/Co|letti_0033902‘Q)

FB|302_011-000135

 

Case: 1:15-cr-00260 Document #:

fm

VENTS~

MARKETING NETWORK LLC

301 central Avanue, Slo. 244
thr>n Head, sc 28928
Fhom:: 843-384~7570
Fax: 843-842-7588 `

258-2 Filed: 07/20/18 Page 68 Of 101 Page|D #22090

INVOICE

Number: 72435
Da'ea: 227/2008
Quots: 8624829

 

Bill To: FLEASE REM!T PA`¢'MENT TO:
Mtlier Brewlng Company Events Market{ng Network, LLC
3939 W. Hfshland B(vd. 301 Central'rwenue, Ste. 244
Mtlwaukee, WI 53201 Hilton Head, SC 19926
v /t>`.`_ '
Ji¢_!_¢.§_$.§
$37.500»

  

Arn misuse ln'stlmtr('AB|) ' ' '
Support|ng Sponsor ~ M!d»Winter meeting

SanH:es.!nclude: welcome recepdon/cuckmil party, full premium bar-
Mrlcer\u;e/MGD;FQS¢¢:'§ homes, 2 sewers/bartender '

,,_`_

WE AFPRECIATE YOUR BL,|S!NESSI

  
 

QQJ a.."i`

Tnba( Due: $37,500.

W%%W %M@€r'
M/Z »///W

 
   

Ducummr §

VENDDH§ ngzl /1 1 /16_;_:71

l _ Go,mmuv 'Gooa
` 4500 07700 DBBGO macon
M ~ m Wmh

 

OONF|DENT|AL MiHerCoorleolletii_003392

2?>{>

FBI302_O1 1-000136

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 69 of 101 Page|D #:2091

 

 

 

 

MAR 6 “ 2008

MARKET|NG NETWORK LLC

301 CentmfAvenue, S(e. 244
H¥lfon Hszd, SC 29928
Fhone: 843-384~7&70

F&X; 843-342-7588

Bi\l Tm
Mi\ler Brew!ng Company
3939 W. Highlar\d B£vd.-

INVOICE

Numbar: 72436
Date: 2!2812008
Quote: 6824840

PLEASE REMIT PAYMENT TO:
E\'ents Marketing Network, LLC
301 Central Avenue, Ste. 244

 

Milwau}<ee, W| 53201 Hilton Head, SC 29926
Descrip_§lon Ne!: Cost
PO: 100654706 $45,800.

Multi~Unit Foodservice Operators (MUFSO)

Presenting Sponsor

Smices includes Exhibit lounge are set-up/teardown ~ furniture rental indudes
Portable bar/floral/carpat. 1 host server, loe only (beer supplied)

T'ntal Due: $45,800-

WE PPREC\ATE YOUR BUSINESS!

2160/did

.Documex.r §\_é_Ql_QLZLL|__\_CZ_Z.I_&J-;… ,
\'Euuaa# 1521 ,/1€ phqu

CoMP/mv Ccol:

fresno Emo L'_\eaoo L_'_}aooo

scm -2008 n "w\ l , o

.....

 

CONF|DENT|AL MillerCOorS/CO\|€!U_OOS393

306

FB|?>_OZ__O'I 1-000137

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 70 of 101 Page|D #:2092

 

;'\A,

VENTS

MARKETING NETWORK LLC

301 Canl|'al Avanue, S!e. 244
Hilton Head, 8029928
Phone: 843-384~7570

Fax: 843-342-7568

Bitl To:

Miller Brewl ng Company
3939 W. Highland Blvc|.
leaukee, Wl 53201

 

JU!§ZQMB:SQ

~ INVOICE

Nurnber: 73444
Dale: 6/11!2008
Quote: 6625245

PLEASE REMlT PAYMENT TO:
Events Marketing Network, LLC
301 CentralAvenue, Ste. 244

Hilton Head, SC 29926

 

Desc§igt‘lon
PO: 100677459

C` Amencan Beverage institute (ABl)
` Sponsor\ship/ Event Coordlnatlon

Nét cg§g
$45,300.

Services include: banner & slgnage development, product & sampling featuring

Miller products. reception sponsorship

'l'otal Due: $46,300.

WE APFRECIATE YGUR BUSINESS!

DMWWWM

 

VENDOR ."/ ca g
company Gooa
on [}4500 D??oa []eaoa []suno
soswzoos n w
umLo'-`_`Bz"'

coNFlD_EN'rlAL wlsuer¢oors/conem_ooaa94

2_3r

FB|302_01 1-000138

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 71 of 101 Page|D #:2093

 

VEN l 5 §
§"
MARKET¢NQ NETwonK LLC ;~§
301 Centra\Avenua, Ste. 244 §
Hlllon Head. SC 29926 » §§
Phone: 843334-7570
FEK’. 843»342~7688
INVOICE
'Number: 73445
Dafs: 611 1/2008
Quole: 6625250
B{Il To: PLEASE REM\T PAYMENT TO:
M¥ller Brew'lng Company` Events Marketlng Network, LLC
3939 W. Highland Elvd. 301 Central A\’enue, Ste. 244
h\ilwauk§e, Wl 53201 Hlll'.on Head, SC 29926
Ng; §osc
' $45,000.

ES_€£I.Q§QD.
PO: 100677459

C..-‘ ss:g Amenca
General Managers Conference (Bronze sponsorship)
'Serv$ces include: MBCo. sponsorship fee for bronze level partlclpation at the conference

with prpdu<:t display and sampling_

 

Total Due: $45,000.

we APPREC¢ATE YouR susmesst

Docuvsn' #L'(QQ.Q_\BJ-§§d'i§_-'%GL

a\ll@¢ _1

VEN 5 \
GoMPANv none
no D¢soo Dnoo Deaoo C]aoo’n
~,H..~_ mmch

60174'20'33 G

{\\

 

CONF|DENTIAL MillerCoors/Colletti_OO3396 25 3

FBI302_011-000139

Case: 1:15-cr-00260 Document #:

E_yENTS

MABKET|NG NETWORK LLC

516 D Rtve. Highwey, ala 182
Moomsvi\!e, NC 28117
Phone: 843-384~7570
Fax: 843»342~7588

B}ll To:

MillerCoors

Corporate Headquarters
3838 West Hfgh Llfe P\ace
Milwaukee, Wl 53208

258-2 Filed: 07/20/18 Page 72 Of 101 Page|D #22094

INVOICE

Number: 73523
Date: 215/2009
Quom: esaza$s

PLEASE _REMIT PAYMENT TO:

Events Market!ng Networl<, LLC

516'£> Rfver Hfghway, Ste. 182
Mooresville, NC 28117

 

sc tim
PO: 100723991

Multl- Unft Foadservice Operators (MUFSO)
Exhibit Sponsomhlp

$45,800.

Serv|ces lnclude: Booth rental, set-up/teardown, talent fee (est. 3 days] openlng retept{on td include
cocktail party (lncluded in sponsorship fee) Sell sheet development and pdnt!ng for directional

attention handout.

'c‘~`b»'@ NS 'f'{ 835

WE APPRECIATE YOUR BUS|NESS!

Tobal Due; $45,800.

' ' ~ ' "~:;"!';,¢ ' :l.~':'&" l ~"' " " ‘ H

g_;_ DocuMEm §

..02 / 9 11677.

com FANV none

VsNooa di

0100 4500 7700 6800 8000
§ n n cl ca mm

  
 

som*zozo CI 7 umwt. _ .

 

CONFIDENT|AL Mil¥erCoors/Colletti_OOS

FBI302__011-000140

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 73 of 101 Page|D #:2095

 

Ey...t.u_“l_;_t

MAHKE’HNG NETWDRK LLC'

516-D Rlver nghway, Sle, 182
Moonasvllle. NG 25117
Phone: 843-384-7570
Fax'. 843€42-7588

INVOICE

Number: 73529 ‘
Date‘. 2103/2009
Quola: 6632656

Blll To: PLEASE REM¥T PAYMENT TO:
M{llerCoors Events Market|ng Net.work, LLC
Corporate Headquarters 516-0 River Highway, Ste. 182
3838 West High l_.ife Plac:e Moor£‘sville, NC 28117

Milwaukee, W153201 -

 

wooden .'. . Eor_€.o$.t
Po: 100713991 $48,620.

Chain Operators Exchange (COEX)

F_xhib£t and EYent Sponsorship

Servlces include: Sponsorship support, booth space rental, standard 10’.2<10', display booth with
upgraded furniture package, carpeting, audio rental, set-up and toordown. (All electric and power
needs included in the booth space rental).

`ib!SNli '[ =. _
t md Total DlIG¢ $48,620. .

WE APPRECIATE YOUR BUS[NESS!

'UDDCUMENT#l/’Z'D\ 0152£(?; "7|¢371,2|01
VEHDOR# u".`:?n /r ‘?L /»\§.¢__7:

. §§ jj Oal.wANv Com _,
' mon mason []mo []eaoo L'Jaoi)gd

__ sum-mo , U 130

wmw`._______

 

 

»-

250

CONF|DENT|AL Mi|lerCOOrS/CO iO 99

FB|302_011-000141

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 74 of 101 Page|D #:2096

 

 

)°.
}>
'?l.vq s<’»v`

149 Plan%ai:on Ric`oe D°iva.Sie. 140
Mooresvii¢. NC 28117

INVOICE

Date invoice # Quoie # Tezms
214/2009 7235 8310 Net 30
Bili To:

luiil|er Ercwing§Company/Coors Brewing Ccmpany

3838 W. H'lghii_fe Piace
Miiwaukea, W l 53203~2866

Ciie:)t: Miiier Brewhg Company
Purchase Ordér:100723988
1 Projecr. Coilege Basi<etball Tournarnent
<: Desonplion: Caslno!Gaming promotional programming
Servicea lnc|u.jio: content research ouiiir.e/copy d °iaf! ng and revisions Graphic design/layout to i`ma% iiim,

all legal rowe and presentation printing andrwit°rii:nent

Amounl Due: §28,500.

<"»!1=8"¢1183;1 i' ;; ; ; : .; ; :

Piease remit payment to:
Beverage industry Mari<eiing Services .LLC
149 Piantaiion Ridge Drive, Sie. 140
Mooresviile, NC 28117 `
Tax \D: 582-36~2091
Pnone: 704634.3191
Fax: 704-654-3182

@,,,OO ?~’X.°'i',?/ O.C_?
Veuoon# ‘ '*9¥ §‘ q <7/' S:~’

CoMr~M:v Coot
~Wu» nom []mo i’_‘]asoo []svoo
mm 2010 n , vini.a.,t'r£§£££_j

'~i'-‘! -i§ ‘.“‘ } .:;-~
I$L

§ , , z(u_

CONF\DENT|AL Ml!ierCOors/Colielil__OO‘i 028

z ZDopuuzm 51

 

 

 

 

FB|302__01 1-000062

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 75 of 101 Page|D #:2097

 

-~ ~ ~_“
g 8 lND
44$" h 0"`?~¢
§ b
m l ‘ ~
¢.» ' a
1 ¢
'f‘ ,`C)
40€ 0 ¢8 "1~0 s\’»""
.?
INVOICE
Date lnvo{ce # Quete # Terms
7/23/20‘: 0 8449 6204 Net 30
Bili To;
MlLLERCOORS

250 S. Wacker Drive, S£e. 800
cmcago, iL sosna

C§lent: M!LLERCOORS

Purcmase Order: 100828366

Project: Draft Training/Recognl!lan Program

Descrlpt!on per estimate: Deve|opment of a system focused draft lmining and remgnition progmm.

Amount Due: $87,000.

Please remit payment to:
BIMS
149 Planlation Ridge Drive, Ste. 140
Maoresville. NC 28117
Tax |D: XXX-XX-XXXX
Phone: 704-664-3191
?-'ax: 704.€~64-3182

 

WE AF’PREC!ATE YOUR BUS!NESSI

Terms: Ne% 30 day

Docu».zt.'m'.z¥' L//… ’

    

C°MPANV Cons

soo D¢sao C]noo L`_lsaoo Da)oo

»s_om~zmox D_`_*_ _ datum

- \
CONF|DENT|AL Mil|erCoors/Co||etii__(}()‘\032 @

 

 

FB|302__O1 1-000063

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 76 of 101 Page|D #:2098

 

 

QE iNb
4" 0
4

$ sp
~“'“*
' -M
<-.¢>.¢'~'- 54 1 ‘ y
irvin

 

 

~.:€Dj€iwarr § 0
:‘ " non t ‘;` ”T)N s %‘“"
»r€e.-¥EN.. ____._. Co)itr>mv CO°E§SHM anna G
i mo L_JASO‘° Dm° 149 renew Ridgoo i ¢. st .140
if n tim to.£'gl§§_-, Mooresvi.lo. Nc; §8"7°
gm 80114.2011 ‘ _ _ . Pn:mo: 704-5€¢-3191
w , ,. -' ' < Fax'.704-6$4-3182
INVOlCE
Date ‘ invoice # _ Quote # Terms
4127/2011 700443 003821 Net 30
.»d. owe s owe
Biil To: w - '
MiiierCoors w §
NatlonaiAcoounts g m
250 South Wacker Drive m N`$'CT# 7 l
chicago iL W CODE SEN
M enorwa HQHS¢'\
m$ 7 lR

Cl’enl.' Mil|erCoors

Purcliase Order. 105875123

Project' Casino - Draft Masters Las Vegas, N\/
Descriptlon of wcri< completed: Deveiopmeni cia system focused draft training and recognition program
included in the program is comprehensive draft beer education materials developed for ali three beer selling
system tiers. Program is focused against asbabiished standards and guidelines for draft beer as outlined in
parameters by the client Elements of the program include spec;iic guidelines and requirements of the
MiiierCoors- Field sales selling team. Dlstribuiors/\vt\.oiesalers and Retailers. The awards program has
been developed to be adjustable to the needs ol each segment which will build system capability Materiais
have been developed to reward continued correct behavior. Prograrn includes scoreca:d ior ali sales areas
and progressive awards system that will lead to eventual category annual winners as the process is

executed

Amount Due: 389.000.

JUN 28 Plil:3.q
we APPREciArE YouR BusiNEssi

CONFlDENT|AL MiiierCoors/Coiietti__OO‘l 043 @

 

FB|302_01 1-000064

 

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 77 of 101 Page|D #:2099

Q\’. itt b
43‘$ h u'>*
~W‘*
B ‘~ iM 5
°i* §
v,',*e q`dw
rm g t f»'*

1& plausiban Drivo.£!e. ’40
moro\v§e, M,‘ 23i17
honor 764-mvv

m redeem
INVO[CE
mate 2120/2012 m m § 0{0<>
303100930137 m i'l '4

, , umww~#~_...w
!Evo go o: mw§ ’7\ |ODD
N'ila.‘C . "*"“"”““"M
Zgl) So(\>)¢i)hmV/aolrer Drive m mg
Chlcago. il. 60605 we

 

Ctter't: l\iiilerCoors
Projeot: Las Vegas - Caslno, Drait Quaiity Management Rou!lne
Escrlg§og; Provded a by¢unit assessment of current draft system efficiencies and supplied

recommendations for increased yields and product quality. instituted draft maintenance routines
at each outlet and initiated a standardized check-iistlor ongoing program consistency

 

Servioes inciudgd: Developmont of an ln-u'rii system ‘ocused draft training and recognition
program focused against draft maintenance and pouring standards of draft been Elements ol the
program included per barrel yield vs. target analysis. sea'et shopper visits. glassware cleanliness
and guest comments. An award program was developed that bullets system capability and
rewards correct behavior and yield expectetions. ln~unit program materials included delong
guidelines for bar management and sewers. Scoreoard was developed for ali dispensing areas
and cold storagel

Flnai invoice Cost: $93,600.00

WE AFPREC|ATE YOUR BUS\NESS|

 

,/

noonan l

VEN°°M t cool

(,rwirri!t\l
w o "m n'nw/)/.
mullen ig¢l£.
' f‘
CONFiDENTiAL MiiierCoors.'Coiiettl_OOi 054 § all

FB|302_01 1-000065

 

f`\

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 78 of 101 Page|D #:2100

¢QJ‘GE §Nol.)@%
§

g
owe BlilVlS
linn v

m M§"»Tli? ,,;Lj 1000 ma §§Tl~o st‘*
m §QAH:`:E N §§'31"` nn ’Q|/ ‘hmg-)~ co Par§:£;.°r:;?g:§§i§, irc
§§§'M co mfg§_,;; rizzo

INVOlCE

Date: September 4. 2012 invoice #'. 007987

PO# 100968563

Prepareci For: MlLi.ERCOORS National Accounts
Job Titie: Casino Draught Beer Training Program (l_as Vegas. NV)

Description; instructional training for wait staff and service persons on the proper way tc
hand|e, care end serve » draught beer.

Services included Defining the correct handling and care procedures at the back end of
the drought beer system inoiuding, temperature tavern head maintenance, line cleaning
system balance and proper storage iechniques. Front of the bar wait staff and bartender
training inciuded; waste reduction proper beer pouring techniques fauoet maintenance
ciassware cleaning and educating the consumer on "Great Draught Beer’

Training included the following locations; Cannery Caslnos, Rampari Resor€ & Casinos
and Biil's Casino

DCCUMEN¥#¢&?|0101(0\01¢9~1§10;4i?>_x
Completion Date: August 29. 2012 Vrrrznn# 1 9`» ‘9‘ .‘5 101 t "i fl

Col.wnn'\r CooE
gains Ursoo fmc-o 4
lnvoice Tolal: 328.730.00 sum.zmz C.'i wm 6%§5 l

Please contact us ii you have any questions or, need further information

b
CONF|DENT|AL Mi|lerCoorleolieiii_OOl060 @ 1

FBl302__01 1-000066

 

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 79 of 101 Page|D #:2101

 

A-
enrs

1 §
*?4.€ q\C¢
7'IN(_\ 5‘¢‘."

651-2008 BmMay Schcol Fbod,$to. 228
Moora av!ie` NC 2311?
Phuao: ?C4-654-3191
Fax: 704-584-3\82

  

 

INVOICE

"i en _`:\§§ o rob
Dete: February 15, 2013 §§ § ~-

4 o t ` ~

_ ~¢i‘ » 5 '$
…

igvoig_e_ 'i’o;
MiiterCoors
250 South Waci<er Drive

 

Chicago, iL 60606
Ciient MiilerCoors Netional On~Premise Accounts
Project; Las Vegas - Caslno and Hotel. Draft Guaiity Managemant & Assessments

Descrjgtiog; Provided a by~unii assessment of 38 current draft systems. Assessed efficiencies
and supplied recommendations for increased yieids and product quaiity. instituted draft
maintenance routines at each outiet and initiated a standardized check-list for ongoing program
consistency. _

Sep_rice§ included: Deve|opment of en in-unit` system focused, draft tra?ning end recognition
program focused against drait maintenance and pouring standards of draft been Eiemenis of the
program inciudeci_ per barrel y!eid assessment vs. target iaveis. secret shopper ViSi\S» QiSSSWaf€
c‘eani':ness and guest satisfaction comments An award program was deveioped that buide
system capability and rewards correct benev§or and yieid expectettons. in~unii program materials
inciuded training guidelines for bar management end,servers. incilviduai scorecards and
maintenance records were development for ali of the 38 craft dispensing areas and coid storage

invoice Cost: $96,835.00

Complatton Date: Fei)ruary 8, 2013

WE APPREC|ATE YOUR BUSiNESSI

DCCU.‘-'é.‘trh('% qO\(Oi\{rS¢,,S-:g 70
Vm:nl rro\\\& § ret rr"{’ "/‘

CoM»ANv Coct:,
watts C]asao Drroo C]cect
8°"“2°" GHHBEN=HAL “"'”CA°B Mmerooors/oorreni_oo1064 @

 

FB|302_011-000067

 

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 80 of 101 Page|D #:2102

“é)

.‘mh~oc|§m=oO`m»oon_E>_ ._<_PZWDEZOO

§§§om »§§§\OQ< st§u..£n»t°nn ¢§.N».M.Q\Q

 

¢mwvmov..~.m uop:§z n= §._.
.wwmz_mbm EDO> ~_Om DO> ¥z<_.t.

Bm a seems _§E moa S§..§ .ES@§_ ,mz
.mmm_..mw wo co@Bco....oau .EQOE §§ §§ §§ c_ mmo$_wm

32 . §

 

.50»00 D>UQ 52 ~:s€

®NmmN Ow va: §
mo T< _nmom § BEO mm SNmm _ ` .omv.=m>£§
<_Dw§ m><¢ . .n> Em¥ .I .>> mmmm
no.r PZmS><m blum Nw<wqm >c EOO mc_z§m § "o._. =..m
§Q 330
gov umaE=Z
Z_
mo_o> mmw~`__.rmnm § .m..&HWU ¢b!lva ¢\_¢!:! bu¢.\-. .-:!.

1
¢_!` 1

mm am .q 2 .n.x~.~ §§
Dm>mwmm § m “ ,.

FB|302 011-000147

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 81 of 101 Page|D #:2103

mms~ool£o__on._ooo._m_=_>_ ._<FZWO_LZOO
o§§s>on.¥§_§§£ .oa_< .§~§§nn .»\E.NU.WQ.
. ..l.\\z\!i»t... , L

l\\ll...,.\.\i\ . aqu

   

§ A<>Or_mn¢
wDOO XE.

 

vwovmow&m umnFSZ D_xm.~.
MQOMZ~WDD EDO> mom DO> KZ.<I\_.

 

 

§ H§Y§§
. § ku §§ bad wCOz.B§ .
.m®w.omw § on _.. se Mmmo&an< §§ §8 § §W

 

Bm~oO UFND 52 254

Swmwm‘.mww§§o$ . . B~B_ games

5sz w>$.._ o> 2 .>> 33 .
nov EMB»<L .:Emm mw¢w\E >cm Eoo mc§m_m§__,§ .B. am
oEQm ..Bmo
Nmmv uman§z
mo_O>z_

c\}>~¢¢ -d~=.»n! S».I_ ;:,¢¢

§§ § .§S ~. ,.§:

mm a § m_ § ...... §
…mw`./mo…~.m §

FB|302 011-000148

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 82 of 101 Page|D #:2104

vP\.NQQIEQ=QO`QQQO\_Q_=§ ._<_._.ZwGEZOO

§§§§\§H£c§»g<.§a»§a%m&»§§

§mo v..h.m ConE_...Z n= XN.~.

_mme_mDm CDO> mow DO> v~Z<I._.

.o§.w~» /OSW§!

gmc §
@§.s.Q §
b § 0

   

§.~£.

§_Q>E ...smm§ .§ §§ u§u¢_
_.DQN 205 §§or §§ cowooccoo § Qo£>__ow

§

 

   

\§9§
»§d.#¢o.

mwmmm ow .um»r =S_f
mo _..¢ umom § QQEO mm
5sz m><m
nov .:,EE>$_ tsmm mm¢m:m

vQNr.w ..\SNQ
wav "._OQE=Z

wo_o>z_
§ §. §§

~QM § : .§,_§

QW.>EOWC

flb

§
.lll\°®

BMuOO U._>MD §§ FE<

E~mm_ 633sz
.v>_m .I .>> ommm
>cmano §Qm h§ ~o.;~m

¢-e!vn o..~¢.»{~x n\»¢c`l ~4:¥\¢
= ~»=~._v n

FB|302__O11-OOO151

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 83 of 101 Page|D #:2105

?Y/é

Nwwwoo|Em=oO`wSoo~m=§_ ._<_._.Zmo_szo
§§63". §§E..§. S<.v§~§§nn.§.§

¢wwvmo~..\h uwnE:z 9 Km.~.
~wmz_w$m EDG> mom DO> v=/_<~.F

§§ w&§§e§%§ §§

 

 

   

wang F§xwoo§§ §SSS §§
§ §
.s\¢$ §Q=QO v._>dD SZ ,.5“<
\
¢mmmw ow .Bv:co§ \/¢O
m§.< .Bomv=& Beo 3 v § §§ § .RVBY§
<Ews_ w><m §§ § .n>_m § f § 33
"o._. »zms>.§ .:smm um<m.i .~v »_aa&oo =.s§m §§ ap am
we ~. ~.\h §
BS Sn§z
mo_o>z_

\¢n¥;n :~un{\! h=!.!\. -<¥»co
so ¢Ss!; .

md§_ §§ § §
NQM§:§_§ .. §.
.…..\,._m_umm §

FB|302 011-000152

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 84 of 101 Page|D #:2106

U/)@

m~.~\.Noolwzw=oo\m.»ooo._m_=§

J<_szc_mZOO

m~“gw Um .TUGI coil

. Qo~.< _.1¢ §§ 8§0 3

>&Q@woo@@m

wWWwZHW:m ~50> dow :0> ¥Z<TE.

NBN$ n_E.F

oa©@v@@@\

 

~3.5&“ omo._o>oa §.8 va §§ 95 &:m.~um=o% coramuwa .

AE»§WBB.S 33 §§ .
2=§§ §§ =¢m .
333

SQN `m~ §§ if - .£h_

umwng So&w, hom§soxw whotr§mo £.u:wv XwOu o£. .._ti zombuocoo £ moo._.€vm nom

 

avco .BZ

corm~..owua

 

A$vao§m nn ad
~..~&N umi§m ._2=:
.§.<~Eom §§ SEQ mm
wa
.Ew§,§ bsm~_ wm<m.z

NO\@\N §
(\.nwh.v“§

wvuo>zw
mm..._,.¢ §§ umwa
_,:.. .».. U.... m»r,.=. ..r.

`uM ¢ d l C.\»
. . ~ ..
.f.z ......~..w~u

§§<E§ .B< uf,<

BNB §> _ue_as._z<
gm v§_:mi § mmmm
§§ m.._§u\_m .§=E “o._. =E

§§le 89un
U sam s£u 820 §

23 §§:8

§ `§>

.§A§HH&®HP@£

§ § WM@…

 

FB|302 011-000156

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 85 of 101 Page|D #:2107

*`

 

°EVENT S§Rv\ces lNc.

33 OFFiCE PARK RD.,A-‘| 06 ' HlLTQN HEAD, SC 29928

.Eocummmc$§ 9`4"0¢ 0 51937¢8'.67»3¢

VENDGH# lr;z\ /¢/Q`» 31¢32071

C°MFANV CODG

INVUICE

 

 

6100 D¢soc Dmo ama
son‘~zos n n
" ““*M§b Number 7326
vate.' 3/30/04
Bl`ll TC.' FLE¢LS`E R£MITPAW£NI'TO:
MluerBrewlng Company ESI/Rave
3939 W. H[g|lldmi BlVd. C/G ACCOM FD!RNCIM, INC.
Ml`lwau!€€@, WI53201 GI€€IWH!E,. 58 29606
/»'*_--"`_`_`\
\ mm
/oo ¢f 3 /5‘?‘/’ y
warning Cotwentivn » Sp orsntp

  

inneuwma%e, display and reception

 

{U é:’:` _ B§
PLEASE REM\T TO:
%CC~OMB_Q em§$'z?:,§sgozgooa

 

\ .\H<

 

 

 

 

 

DP\G\D C,v(l€i'f`)`

TOM! DNB.' $ZQ,UOU.

1»800~231~2751

THANK )’0{1 FUR ¥GUK BUSIN£SS

.:)‘f££

:'.~»Is !m'o!c¢ h uchnad {o. ¢wnld by and
psyah!a w Acecd Finanda'. lnc.

P D. Bax 0704. B!oanvn!o. 53 29608.
my omov.:, cll'm¢. e!c. muse be reported
w$\mld W\an:k\|. \nc. 1-800-23!-2757
imm¢dh!c!y uc¢n mclp! of lhk \nvolco.
AT¥ENT\ON: U'IC'! DN ?|LE

   

Wh{( é{& da’f"

 

 

 

CONFIDENT|AL

Mi|lerCoors/Col|etti_002791

QD

FB|302_O11-OOO157

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 86 of 101 Page|D #:2108

 

l l PLEASE REMIT T‘O: RAV:.:MED,A

 

 

 

v " . p.o.a am
. v CORQGNEW“§XSC mm marketing solutions
m 1400~231'2757
33 O{Hce park Roud»,
C A-IOé
` jj Hilton Head SC 29928
d /g jdl 7 843.342.7729 main
MroICE 843.342.7588 H\.'<
wcb>;i!c
' mvemed':amarketing.com
lnvolcc#: 6534
Da'le; %a/Zm DQQJM§,\;T#¢;?_; (?: 01 01 1001 al ‘€Z\O r-S l
Bill To: Millcr Brewing Company ,_ v j / 3 , %, g 1 <7 l
3939 W~ HiShland Blvd V=*`DGR# l n ch'.~.¢.PlNY chz ' l
leaukce,VJI 53201 H{m Uq§,gg f_’_|~ngo mri-800 ESOGZ>
scm-ms D_._._..__.._. “”*“~° 5

ahd ad insertion - Ameriwn Beverage Insti!ute (ABI) Med"i§ Guidc S‘7.000.

w 51” 5 D roTAL- s7,ooo.

 

   

Piease remit payment to:
Ravc Media
do Acoord Fmancial, Inc. , . »»:~_@ '5*; g
POBox6704 ""' ’l. " § 0 S~Z
, Gmnvme, sc 29606 "~. mr &@-UY\Q\ ' 1 ~
C_A 4 mm m 5:53
THANK YOU FOR YOUR BUSINESS!
naomi -”“‘-"’-‘1- §
9927 T.‘ds invoice ls asx!gned to. owned by end §
payable to Acconi Hmn:fa,’, lnc.
P.D. Sox 570$. Grecnvlile. 80 29506.
hay offseis. cbims, clc. mm de modes
11 MU AMIOS.?,? w memo Fw¢z;\, xn=, 1.500.231~2)57
_" ‘“" "" "'"‘"" Immodiabdy upon mee!m o€ this lmoice.

ATTENTIDN: lim-1 055 F§LE

¢-- 0

wm cp ueH+ , 563§00~'1‘

 

 

 

 

CONF|DENTIAL MillerCoors/Co||etti__O02794 Q ‘H

FB|302___011-000158

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 87 of 101 Page|D #:2109

'E'\IENT SEvacEs lNc.

33 oFFIcE PARK RD. A-106 - Hn:roN HEAD ec 29923 .. ~. ' ` 1
' ' RECE;.»E§} DECIS°ZB@§

C pa / €o?‘/'

 

 

...}-
FH ,L , nvvolc£
»- o ,»,» (J § Number 8248
m >’ vi § oate.~ 12/9/2005
_ 1115 11 J><; *
3111 ro: €/r"@p\ PLEASE R£Mzr PA mem ro.-
M¢'ller Bre wing Company FSI/Rave
3539 W. Highland Bivd. c/o Ac'cord Financiat, lnc.
Mllwaukee, M53201 &reenvllle, .SC 29606
At“cn: Comorate Accounts Payab!e
Q§;Q'ia§a'l w
P0100502004 320,500.
olive Garden - General managers conference
Services mclude: Keceptfon sponsorship Er execzrti¢_m (food and beverage)
Product display
Total Due: 520,500.
rHAM< roll Fo/; roz_uz` wsm/555

:. o

m
!h¥s~ Lavo!ea h uaw tn, owned by md
while to Ilc'.md manch!. ln:.

F.U. Bax 6704. menth Sc 29606.
My offsets. ch!ms. atr. must be reported
tokeer Hnanchi. !n¢. 1-800~23!-2757
fcr»m¢dlm!y upon rece|:t 01 lhls !mv!ce.
MTENT\UN.- UCC-l 0¥\' F;lF

Duwmav'#1[00f`){")113(@©11/(0 &1
Vevwa#1Oz/1&1§1<Q1:21

(W Z:__F pg @151@°1°;1“;;;*°§;510,
v Davch Cmtle{'h w um§?£§é
00
(-,; M,,,e,¢£e,§/z~jz,£|\ehi_ 3028::0` `/\

pm\u: IBMW-
w " 1 ~

 

 

 

FB|302__011-OOO161

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 88 of 101 Page|D #:2110

 

w -_

~ RAV:'.MED¥A

marketing solutions
' 33 Off]oe Pa.\'k Road.
C A- 106
Hlllon Hcad SC 29928

843.342.7729 main
843.342.7588 fmc

moICE \veb>ixc

.'avcmcdiama:kellng.com

lnvoicc ¢: 8253
Date: 2/3/2006
Quote #:77152

Bi,\l To: Thc Millcr Brcwi::g Cornpany
3939 W. Highland Blvd.
Mx`.lwaukee, WI 53201
Atm: Accounts Payable

 

e c
PO #:100510197
Ap-p\ebee’s Training Guide - Nationzl Acco\n:ts
Rmearch outline, wri:e copy, design graphics with 4/oolor photos, layout and
producricn. Includes all rc\'isions ana printing

ll

 

 

TOTAL‘. 536.000.

Please remit payment to:

    

 

Rave M¢dia
c/o Accord Financial, lnc.
PO Box 6704
w¢nvme, sc 29506 @,.,.~, A Cq, ( ( e, {-H
THANK YOU FOR Y`OUR BUSINESS!

KJ{&'

This invoice is as§gnoa to, owned by and

payab\e to Aowrd Flnmclal. mc. `MAR 0 2 ms

P.o. sex 6704, crcanvme. sc 29605.

kay offsm, ch?ms. e&. must be rc;wrcod

to Acurd F'mncfal. lnc. 1'800-231-2?57

\mmed|a*.efy upon receipt of \h!s invoice.

A`ITENT!DN: UCC~! Dh' F!l€

Vem):a§ W
/
" Com»mv cons
C_ <=FEUDS []<.590 flynn new am
sum-moa
0 umw MZO
CONF|DENT|AL Mi|lerCoors/Co||etti_OOZSH&--

FB|302_O1 1-000'| 62

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 89 of 101 Page|D #:2111

 

 

‘E\vEN'r SEvacEs lNc.

C

 

33 oFl=ccE PARK RD.,A-1os ~ HlL'roN HEAo, so 29928 §
PLEASE REMIT TO: §
P.0. BoX 6704 “. .
ACCQMGU':;§$.W m
INVOICE
Number 8265
Da£e: 2/28/2006
Quote: 61385
Bill To.’ PL£/{$E REMIT PAYMENT To.°
M¢'lter Brewing Company E.SI/Rave
3939 W. nghland BIvd. c/o Accowl Financlal, Inc.
Mflwaul:ee, WI 53201 Greenville, SC 29606
Atbz: ComorateAccoums PaJ/able
Descr!g’on m
P0.' 100511332 $47,600.

Chain operators Eechange (Cofx)
Servlce fnc!ude: booth se£-m)/teardown, deve!opmem and design of
4 page sell sheet,. audio rental, sewers (3 dast + opening day reception

 

TUi'al Du€.' $4?',600.

IHANK rau FOR YouR B£I$INESS
Terms Net 30 days

m

Th¥l ltw¢k\ h mined ia. mud by and
usable to mem nnmcw. |nc.

F.O. Bax 670€. Erunvlllo. SG 29606.
Any n¢tsofs. donna atc. must be reported
b A::oni Fin\nc!\l. lrc. 1-800-231'2157
immedth vpon mcdpt of 1th fns/aim
ATI`EH’T|ON:. UCM ON F!LE

nocw.n~r§'-Q\Q'Q_LQJ_Z_&LZ,LLLQ
VENDCRS! !_<Q /1021 ?1Q9171

_ CoMPAnY Conn
<Q'H$"Clmo []770@ amc macon
°°’“'2°°6 m u~~w.&@§b

CONF!DENT|AL MiUerCoorS/CO||et!i_OOZSSOi m

 

FB|302_O11-000164

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 90 of 101 Page|D #:2112

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 91 of 101 Page|D #:2113

FD-302(Rev. 5-2_10) - 1' of 2 -

 

FEDERAL BUREAU OF INVESTIGATION

Dateofentry 07/12/201@

DAVID coLLETTI, Date of sirth (DoB) : _ social

Security Account Number (SSAN): home address: _
was interviewed telephonically. Also

participating in the call was his Attorneys GENE MURPHY, MURPHY &
HOURIHANE, LLC, 161 North Clark Street, Suite 2550, Chicago, Illinois,
telephone number: (312)202~3200. COLLETTI, who was already aware of the
identity of the interviewing Agent and the purpose of the interview,
provided the following information:

Prior to the onset of the interview, the interviewing Agent e-mailed
to GENE MURPHY to provide to COLLETTI copies of numerous invoices that hadv
been submitted to MILLER BREWING COMPANY (hereinafter MILLER) by third
party vendors BEVERAGE INDUSTRY MARKETING SERVICES, LLC (hereinafter BIMS)
and EVENT SERVICES, INC. (hereinafter ESI). The invoices listed various
marketing, promotions or services allegedly provided to MILLER or
MILLERCOORS by the referenced third party vendors. Copies of these
invoices have been attached hereto and made part of this FD~302. COLLETTI
was asked to review the attached invoices in order to determine if the
invoices related to work that had been done by the third party vendors for
MILLER or MILLERCOORS. COLLETTI provided the following information
regarding those invoices:

Invoice dated 07/29/2005 in the amount of $45,400 from ESI to MILLER with
a work description of "Multi-Unit Foodservice Operators (MUFSO) mid-year
conference" was not a legitimate invoice or accurate description of work
done by ESI for MILLER.

Invoice dated 08/03/2005 in the amount of $25,040 from BIMS to MILLER with
a work description of "retailer training program" was not a legitimate
invoice or accurate description of work done by BIMS for MILLER.

 

hwngmwnml 07/12/2018 m Chicago, Illinois, United States (Phone)

 

File# 318A_CG_4668147 Dnicdruhed 07/12/

    

     
   
 

 

GOVERNMENT
EXH|BIT

Group Ex. 1(h)

by SA.Laura B. Miller

 

 
 

'I'his document contains neither recommendations nor conclusions of the FBI_ lt is the property of the FBI and is loaned 10 your agency; it and its cont
to be distributed outside your agencyl

FB|302_020-000001

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 92 of 101 Page|D #:2114

FD-3023 (Rev. 05-08~10)

318A-CG-4668147

ommmmmnMFDSOzd‘(U) Interview of David Colletti ,On 07/12/2018 2 of 2

, Page

 

lnvoice dated 07/08/2005 in the amount of $25,000 from BIMS to MILLER with
a work description of "Indian Gaming" was not a legitimate invoice or
accurate description of work done by BIMS for MILLER.

Invoice dated 02/20/2006 in the amount of $53,000 from ESI to MILLER with
a work description of "lndian Gaming Convention" was not a legitimate
invoice or accurate description of work done by ESI for MILLER.

Invoice dated 09/30/2004 in the amount of $17,040 from ESI to MILLER with
a work description of "Midwest Tribal Gaming Convention" was not a
legitimate invoice or accurate description of work done by ESI for MILLER.

Invoice dated 11/14/2005 in the amount of $21,240 from ESI to MILLER with
a work description of "Midwest lndian Gaming Convention" was not a
legitimate invoice or accurate description of work done by ESI for MILLER.

FB|302__020-000002

 

Case: 1:15-cr-00260 Document #: 258-2 Filed: 07/20/18 Page 93 of 101 Page|D #:2115

swooo~i Lo"zos:lsa

 

 

 

 

 

§§
cfc
FE.
§§
iii
id
Date invoice # Terms
718/2005 4185 Net‘ 30
Blll To:`
Mliler Brewlng Co'm_piany
3838 W. nghlffe P!aoe
M|lw'aukee. Wl 53208-2866
Ciient MDlor Brewing _Company
Pilmfia§a.,Ordq= -.1.0.097.6.291
Pro)eoi;` Development of beverage responsibility program
DoscrlpHon: lndion Giim!ng
Servicas lnclude: copy, oddo<ria|. layout. graphic design and production
Amount Duei 825,000. .
C Ple_aso remit payment io:
t B!MS
154 Beach Gity Road, Ste. B
Hilton Head, 50 29926
To'fo: 582-38~2091
Docu\‘azr#~ @ O\ Qd'%’§:©iq'%§!
Verimiié ‘9"'(‘0'@1…` “]
‘ »~ owme Goos
moa D‘¥$“° mm uaw mm
wm_m ij mom w
7/5¢’/05'

  

 

 

i) in (`Cii\?vf"h`

1511 BEAC_H cm nom san a - moon uaw xsw~’o. Soum annum 29926 - PHoNa 343342'-5355 ¢ FA>< anode-2245

EMA!L: BeMsiNc@FARGR/\Y.com

CONF¢DENT|AL Mi}|erCoors/Coltetti__@O$185 ' @

FB|302__020-000003

 

Case:1:15--cr -00260 Document #: 258- 2 Filed: 07/20/18 Page 94 of 101 P&Q€|D #- 21,1(?;_¥_

     

33 OF:F|CE PARK RD. ,A~106 H|L.TON HEAIj; SC 29928

\
l

INVOfCE

Nllmber 8260
Date: 2/20/2006

ante: 61362
Bill T 0 PLEASE REMIT PA YMENT To:
Mi!ler Brewing Company ESI/Rave

c/o Accora Financial, Iuc.

3939 W. IIiglila)id Blva
Greenville, SC 29606

Milwaukee WI 53201
Attn: Corporate Accocmts Payable

 

Descrfp_tiou Nei' Cosi%
$53,000.

P0.' 100511334

Imlian Gaming Conve)dion
Service include: coordinating show arrangements booth rental and set'up

Co!lating ana developing survey, design ofsell sheet handout, reception
Sponsorship and e_xecution, sampling ana sewers

 

Totall)ue: $53,000.

NIANK YOL_l FOIZ YDUR BUSINE§S
Net 30 days

Fslzozh_o'i 5~000145
FB\302__020-000004

 

2117
CaSe:1: 15- -Cr- -0_0260 Document #: 258- 2 Filed: 07/20/18 Page 95 of 101 Page|D #:

 

V`_'r

Nllmber 7 327
Dai'€.' .9/.5’0/0‘£l

Bill 1'0: PLEA.SE REMIT PA YMElVT fo.'
Miller Brewlng Company l:'SI/Rave
3939 W. ngllland Blvd cfc nccord Fnanclal Inc.

Milwaukee WI 53201

Descrlption
P0 100430089

Midwe.€% Tribal Gaming Convention
Aquust2 00

Servicef include booth space/display, beer sen/ice glrls, set¢up
and teardown

Total vue.'

UIANK Y0ll FUK YOIIR BZL§INE$`$

 

Greenville, 513 29606

' $17,040.

INVOICE

Al_et CQ$
317,0»’?0.

 

F131302_015-000143
FB1302_020-000005

Case: 1:15-cr-OO260 Document #: 258-2 Filed: 07/20/18 Page 96 of 101 Page|D #:2118

‘?» OFI:CE PARK RD.,A~1D6 H|LTON HEAD, SC 29928

,l

 

INVOICE

Number 823 8
Ddte: 10/14/2005

 

Bill To: PI.E/|SE REMIT PAYMENT To:

Miller Brewing Company ESI/Rave

3939 W. Highland Blvd. c/o Accord Financidl, Inc;

Mliwaukee, W! 53201 Greenville, SC 29606

Attn: Corpordi'e Accounts Payable

025£1'1`@'011 Net Cost
$21,240.

PO 100492882
Midwest Indian Gaming Conference
Services inclnde: sponsorship fee, product display and reception

Total 011e: 521,240.

"./

THANIC YUU FUK YGUK BIISINE.S`S

 

F31302”015~000144
FB\302_020-000006

Case: 1:15-cr-OO260 Document #: 258-2 Filed: 07/20/18 Page 97 of 101 Page|D #:2119

 

INVGICE

Nunzber 7327
Date: 7/29/2005

 

Bill To: PI.EA$E R£MIT PA YMENT io.'

Miller b’rewing Company ESI/Rave

3939 W. Hignland Blvd. c/o Accord Hnancial, Inc.

Milwaulcee, WI 53201 Greenville, 56 29606

/lttn: Corporate nccounl:s Payal)le

Dascrimion Net Cost
345,400.

P0 1001178607
Mnlti-l!nit Foodservice operators (MuFSo) mid-year conference ~ Hon'da

Services include: Reception sponsorship and execution (food and beverage)
Produce display, sampling and sewers

Total Due: $115,11100.

11111~1< ron ron rowe BusIn£ss

FB|302_015~000’| 33
FB|302_020-000007

 

 

Case: 1:15-cr-OO260 Document #: 258-2 Filed: 07/20/18 Page 98 of 101 Page|D #:2120

':,3 § J»N,g »».-¢.
. ` bd‘

 

Date
8/3/2005

Bill To:

Miller Brewing Company
3838 W. High|ife Place
Miiwaukee, W! 53208»2866

Client: Miller Brewing Company
Purchase Order: 100478606

INVOECE
lnvoice # 1 v Terms
4215 Net 30

Project: Beverage training guide & service guide|eines

P~ecriptic)n: retailer training program

/ices lnclude; services for content research outlines/copy drafting and revisions. Graphic design/layout to 5h1

1 ~. rount Due: $25,040.

Piease remit payment to:
BIMS
154 Beach City Road, Ste. B
Hilfon Head, SC 29926
Tax!D: 582~36~2091

 

 

 

54 BEACH Cm»' ROAD. Sr=:r. B ~ le:roN HEAD ISL_AND. Sou*rH CARox_mA 29926 ~ PHONE 843342~5355 - FA>< 6433412 245

EMAIL: B]MS!NC@HARGRAY.COM

 

FB{302“015-000043
FB1302__020-000008

 

Case: 1:15-cr-OO260 Document #: 258-2 Filed: 07/20/18 Page 99 of 101 Page|D #:2121

 

Case: 1:15-cr-OO260 Document #: 258-2 Filed: 07/20/18 Page 100 of 101 Page|D #:2122

FD-302(Rev.5-s-10) - 1 of 1 -

 

FEDERAL BUREAU OF ]NVESTIGATION

Duteofentry 07/12/2018

RICHARD BERMAN, Owner and President, BERMAN & COMPANY,
_teeph@ne M-
was interviewed telephonically. Berman, who was aware of the
identity of the interviewing Agent and the purpose of the interview,
provided the following information:

BERMAN Confirmed that he had received and had an opportunity to
review 3 invoices that had been forwarded by the interviewing Agent via e-
mail on 07/11/2018. The invoices related to promotional events that were
listed as having been done for the benefit of the AMERICAN BEVERAGE
INSTITU'I'E (herej_nafter ABI) by EVEN’I‘S SERVICES INC. and RAVE MEDIA. The
invoices listing these events for ABI were submitted to and paid by MILLER
BREWING COMPANY (hereinafter MILLER) or MILLERCOORS. Copies of these
invoices are attached hereto and made part of this FD-302.

BERMAN advised that the RAVE MEDIA invoice dated 09/30/2004 in the
amount of $7,000 and and the RAVE MEDIA invoice dated ll/Ol/2004 in the
amount of $6756 could possibly be legitimate, but he could not be sure
without seeing the advertising product that was listed on the invoices.

BERMAN advised that the E'.VENTS SERVICES INC. invoice dated 06/08
/2005 in the amount of $52,700 did not seem correct. BERMAN pointed out
that the invoice did not indicate the function the promotion was connected
to the work making it difficult to be definite as to validity. BERMAN
advised that he would say that the invoice was not legitimate, but could
not be 100 percent certain.

BERMAN advised that without a doubt, the invoice seemed high and did
not seem typical. BERMAN explained that upon further review of the
invoice, the description of work was questionable. Based on the
description, BERMAN was more doubtful that the work billed to MILLER was
something that would have actually happened.

 

hwestigationon 07/11/2018 at Chicago, Illinois, United States (Phone, Email)

 

07/12/2¢ ~

   
 

 

  
 

 

  

Filc # 318A_CG_4 668 147 Date dra&ecl
by SA Laura B. Miller GOVERNMENT
This document contains neither recommendations nor conclusions of the FBI. lt is the property of the FBI and is loaned to your agency; it and its contel

  

to be distributed outside your agenc_v.

Group Ex. 1(i)

FBl302_020-000009

' 123
of 101 Page|D #.2
00260 Document #: 258-2 Filed: 07/20/18 Page 101
Case: 1:15-cr-

 

 

IlV V0 fCE _
Nznnl)er 7300
mm s/s/zoos
Bi/l To.' PLE¢!SE R£M.IT I’A YMENT 701
Mi/ler Breu'ing Company 567/1111 ve
3939 W. /I.iqnlanrl Bll/d. c/o /lccorrl Flnancial, fnr;

Milwaalcee, ll/! 53201 Greenville, .S`C 29606
Attn: Cor,oorate nccounts Payable

Descriptlon' N¢?t Cosl
Po mom/153 """

Ainerican Beverage Jnst'itnte (AE!)
Sen'ices' include Coon'linating snow arrangements - booth rental set-1111
~ 0evelopi11g survey and counting

' 5e1/sheet nandonis

- reception sponsorship and erecution (Food and beverage smlce)

_l
v ‘ ' `\`\_
` fatal one v¢5.?, 700.

1

mdth i’UU F()R YOUR BILS`!NES`S v

 

 

1 FB,302*015-000137
F51302__020-000012

 

